                                                                                           Number";
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22                      cMsg  = app.response(cAsk);
                                                                                Page 1 of 70
                                                                                      event.value = cMsg;
                                                                                              DEFENDANT'S
                                                                                                EXHIBIT


                            UNITED STATES DISTRICT COURT
                                                                                                   7
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,                          )
      et al.,                                       )
                                                    )
       Plaintiffs,                                  )
                                                    )
v.                                                  )   No. 2:22-cv-00184-LCB-SRW
                                                    )
KAY IVEY, in her official capacity                  )
as Governor of the State of Alabama,                )
     et al.,                                        )
                                                    )
       Defendants.                                  )

                                DECLARATION OF DIANNA KENNY

       My name is Dianna Kenny. I am over the age of 19, I am qualified to give this declaration,

and, I have personal knowledge of the matters set forth herein.

       I am a former Professor of Psychology at the University of Sydney. I now practice as a

consulting psychologist and psychotherapist. My CV is attached to this declaration. Recent

publications can be found at www.diannakenny.com.au and

https://www.researchgate.net/profile/Dianna-Kenny. Some are also listed on my CV.

       I was retained by the State of Alabama as an expert witness in the above-styled case. A

copy of my expert report is attached to this declaration. It contains my opinions in this matter

based upon my research and experience. I have reviewed the Complaint filed by the Plaintiffs

and the declarations submitted by the Plaintiffs.

       In the past four years, I have provided expert testimony in the following cases: 12,

supplied on request.

       I am compensated at the rate of $__400__ per hour for my work on this matter. My

compensation is not dependent upon the substance of my opinions or the outcome of the case.

                                                    1
    Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 2 of 70




      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed on ___1 May__, 2022.


                                           ________________________________
                                           Dianna Kenny




                                               2
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 3 of 70




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                     NORTHERN DIVISION




JEFFREY WALKER, et al.,                           Civil Action No. 2:22-cv-00167
Plaintiffs,
v.
STEVE MARSHALL, in his official
capacity as Attorney General of
the State of Alabama, BRIAN C.T.
JONES, in his official capacity as
District Attorney for Limestone
County, and JESSICA VENTIERE, in
her official capacity as District
Attorney for Lee County,
Defendants.


                  DECLARATION OF DIANNA KENNY PHD IN SUPPORT OF
                S.B. 184 (THE “FELONY HEALTH CARE BAN” OR THE “BAN”)




                                                                               1|Page
    Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 4 of 70




TABLE OF CONTENTS
CHAPTER 1 .............................................................................................................................................. 3
   SOCIAL CONTAGION............................................................................................................................ 3
       Abstract ........................................................................................................................................... 3
   Introduction: social contagion predates the digital age ..................................................................... 3
   Social network effects underlie social contagions .............................................................................. 5
   The mechanisms of social contagion .................................................................................................. 7
       (i)     Peer contagion ........................................................................................................................ 7
       (ii)       Deviancy training as a mechanism of social contagion....................................................... 7
       (iii)      Co-rumination as a form of social contagion ...................................................................... 8
       (iv)       Social contagion has a causal effect on behaviour uptake ................................................. 8
       (v)        The special case of social contagion via social media ......................................................... 9
   Evidence for social contagion among adolescents ........................................................................... 11
       (i)     Anorexia nervosa .................................................................................................................. 11
       (ii)       Marijuana use among adolescents ................................................................................... 12
       (iii)      Non suicidal self-injury (NSSI) ........................................................................................... 12
       (iv)       Suicide ............................................................................................................................... 13
   Social contagion of gender dysphoria............................................................................................... 16
       (i)     Low gender typicality, peer victimization, ingroups and the trans-lobby ............................ 17
       (ii)       Rapid onset gender dysphoria (ROGD) and the role of social media ............................... 19
   Empirical evidence ............................................................................................................................ 21
   References ........................................................................................................................................ 30
CHAPTER 2 ............................................................................................................................................ 35
   THERAPY FOR TRANSGENDER DECLARING ADOLESCENTS ............................................................... 35
       Abstract ......................................................................................................................................... 35
   introduction ...................................................................................................................................... 35
       Case studies from the public domain ........................................................................................... 36
   Intake assessment............................................................................................................................. 39
       Psychodynamic Formulation ......................................................................................................... 40
   DEVELOPMENTAL TRAJECTORIES OF YOUNG PEOPLE DECLARING THEMSELVES TRANSGENDER... 43
       Alicia .............................................................................................................................................. 43
       Jared .............................................................................................................................................. 49
   Socialized and internalized homophobia .......................................................................................... 51
       Hossein ........................................................................................................................................ 51
       Roisin ............................................................................................................................................. 53

                                                                                                                                             2|Page
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 5 of 70




CHAPTER 1

SOCIAL CONTAGION
Abstract

In this chapter, I review the evidence for social contagion of gender dysphoria in adolescents.
I begin with a review of the historical phenomenon of social contagion, demonstrating that it
predated the digital age. I then review the nature of social contagion and the mechanisms by
which certain phenomena are propagated through social networks. Social network analysis,
the method applied to study contagions of all kinds, was first developed and used in public
health as a way of determining the spread of diseases. For the spread of social phenomena
among adolescents, three mechanisms - peer contagion, deviancy training and co-rumination
in peer groups - have been identified as “spreaders.” Four possible causes of peer effects –
endogenous, exogenous, correlated and social media – all amplify the spread of information
in a social network. Four areas of empirically established social contagion in adolescents -
marijuana use, eating disorders, non-suicidal self-injury, suicide and emotion – are presented
as a prelude to the discussion of how the same processes are at work in the social contagion
of gender dysphoria and the wish to transition in adolescence. Specific mechanisms of
transmission such as low gender typicality, peer victimization, ingroups, the trans-lobby, the
role of social media in rapid onset gender dysphoria (ROGD) in are proposed. Preliminary
statistical support for social contagion in gender dysphoria are presented.


INTRODUCTION: SOCIAL CONTAGION PREDATES THE DIGITAL AGE
       It is not famine, not earthquakes, not microbes, not cancer but man himself who is
       man's greatest danger to man, for the simple reason that there is no adequate
       protection against psychic epidemics, which are infinitely more devastating than the
       worst of natural catastrophes - Carl Jung

The term social contagion describes the “spread of phenomena (e.g., behaviours, beliefs and
attitudes) across network ties” (Christakis & Fowler, 2013, p. 556). Social contagion has
existed long before the advent of the digital age and social media. In 1774, Johann von
Goethe (1990) published a novel, The sorrows of young Werther, in which an idealistic young
man finds his actual life too difficult to reconcile with his poetic fantasies, including his
                                                                                    3|Page
   Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 6 of 70




unrequited love for his friend’s fiancée. He eventually becomes so depressed and hopeless by
the perceived emptiness of his life, he commits suicide. Goethe was able to capture the
nameless dread and endless longing of the human condition so well that his novel spawned a
number of suicides, committed in the same way that Werther had killed himself, by
shooting (Phillips, 1974). Such was the alarm created by this phenomenon, the book was
banned in several European cities.

More than two hundred years later, in 1984, the suicide of a young Austrian businessman,
who threw himself in front of a train, initiated a spate of similar suicides that averaged five
per week for nearly a year. Sociologists argued that this alarming occurrence was amplified
by media coverage that glamorised suicide by providing graphic images of the suicidal act and
details of the young man’s life. When media exposure of the event was curtailed and then
stopped completely, the suicide rate dropped by 80 percent almost immediately. Although
the influence of suggestion and imitation on suicide rates was dismissed by Durkheim (2005/
1897), Phillips’s (1974) work indicated that these factors do indeed play a significant role in
the increase in suicides following a publicised suicide.

In 1841, a Scottish journalist, Charles Mackay (2012) wrote a book entitled Extraordinary
popular delusions and the madness of crowds. In the preface to the first edition of the book,
the aim of writing it is stated thus:

       …to collect the most remarkable instances of those moral epidemics … to show how
       easily the masses have been led astray, and how imitative and gregarious men are,
       even in their infatuations and crime (p. 1) …Popular delusions began so early, spread
       so widely, and have lasted so long, that instead of two or three volumes, fifty would
       scarcely suffice to detail their history... The present may be considered…a miscellany
       of delusions, a chapter only in the great and awful book of human folly (p. 3).

The preface to the second edition in 1852 continued this theme:

       Nations… like individuals, …have their whims and their peculiarities; their seasons of
       excitement and recklessness… whole communities suddenly fix their minds upon one
       object and go mad in its pursuit; …millions of people become simultaneously
       impressed with one delusion, and run after it, till their attention is caught by some
       new folly more captivating than the first. At an early age in the annals of Europe its

                                                                                    4|Page
      Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 7 of 70




           population lost their wits about the sepulchre of Jesus and crowded in frenzied
           multitudes to the Holy Land; another age went mad for fear of the devil and offered
           up hundreds of thousands of victims to the delusion of witchcraft... the belief in omens
           and divination of the future… defy the progress of knowledge to eradicate them
           entirely from the popular mind… Men… think in herds; …they go mad in herds, while
           they only recover their senses slowly, and one by one [Author’s italics] (p. 7).

With the arrival of COVID-19, the World Health Organization (WHO) warned that there would
be an “infodemic”1 of misinformation spawned by social contagion. This has in fact occurred,
but the false beliefs have not taken centre stage and swept all science before it in the manner
of transgender ideology. As Anderson (2018)2 concluded:

           The [transgender] movement has to keep patching and shoring up its beliefs, policing
           the faithful, coercing the heretics, and punishing apostates, because as soon as its
           furious efforts flag for a moment or someone successfully stands up to it, the whole
           charade is exposed. That’s what happens when your dogmas are so contrary to
           obvious, basic, everyday truths. A transgender future is not the “right side of history,”
           yet activists have convinced the most powerful sectors of our society to acquiesce to
           their demands. While the claims they make are manifestly false, it will take real work
           to prevent the spread of these harmful ideas.


SOCIAL NETWORK EFFECTS UNDERLIE SOCIAL CONTAGIONS
Using very large datasets (e.g., Framingham Heart Study) that have collected longitudinal data
on original participants (Original cohort), as well as their children (Offspring cohort) and their
children’s children (Third generation cohort) and including their spouses, siblings, friends and
neighbours, Christakis and Fowler have shown that social network effects, known as
clustering, remain strong and can extend to those up to three degrees of separation from the
original cohort. Such effects have been demonstrated across a large range of factors by
different researchers using differing datasets. Examples include overweight/obesity, sleep
patterns, smoking, alcohol abuse, alcohol abstention, marijuana use, loneliness, happiness,
depression, cooperation, and divorce among others. It can be argued that the spread of

1
    W.H.O. Fights a Pandemic Besides Coronavirus: An ‘Infodemic’ - The New York Times (nytimes.com)
2
    The Philosophical Contradictions of the Transgender Worldview - Public Discourse (thepublicdiscourse.com)

                                                                                                   5|Page
   Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 8 of 70




gender dysphoria and transgenderism is underpinned by these now well-established
mechanisms of social contagion in other human behaviours.

Social network analysis, the method applied to study contagions of all kinds, was first
developed and used in public health as a way of determining the spread of diseases (e.g.,
influenza, HIV/AIDS) that resulted in pandemics. It was subsequently applied to the challenges
of introducing changes and innovations in the health system (Blanchet, 2013). Its applications
have since expanded with the advent of computers, the internet, mobile and smart phones,
and social media. Members of a network play different roles in the dissemination of
innovations. A small number will adopt early (i.e., early adopters). Some of these will become
opinion leaders who are central to the network who contaminate their “peers” (homophily)
who in turn will influence those others at different levels of the network.

There are three types of social networks; (i) egocentric (networks assessing a single
individual); (ii) sociocentric (social networks in a well-defined social space, such as a hospital
or a school); and (iii) open system networks (e.g., globalised markets, social media). Each
network consists of nodes (members), ties (connections between nodes), and measures of
centrality, density and periphery or distance between the nodes. Networks with high
centrality are the most effective in disseminating information or innovation. A key example is
the transactivist lobby that has achieved spectacular success in a short time in changing health
care, educational practices and legislation related to transgender individuals. Other
characteristics of networks include cohesion (number of connections within a network) and
shape (distribution of ties within the network) (Otte & Rousseau, 2002).

First, I examine the concept of social contagion and the mechanisms by which it influences
behaviour and attitudes. Then I review four adolescent behaviours that have been empirically
revealed to be subject to social contagion. I then demonstrate that the same principles of
social contagion apply to the increase of young people who believe that they are transgender
and are consequently seeking irreversible medical remedies to assuage their gender
dysphoria. Finally, I explore the social contagion (i.e., clustering) of medical practice with
respect to treatment of gender dysphoria, the precipitous legislation appearing in its support,
and changes to policy and practice in education and sport, despite our collective failure to




                                                                                       6|Page
   Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 9 of 70




date to fully understand the phenomenon of gender dysphoria and its rapid, epidemic-like
spread in the Western world.


THE MECHANISMS OF SOCIAL CONTAGION
   (i)     Peer contagion

Peer contagion is a form of social contagion, defined as a process of reciprocal influence to
engage in behaviours occurring in a peer dyad that may be life-enhancing (e.g., taking up a
sport, studying for exams, health screening, resisting engaging in negative behaviours,
altruism) or life-compromising (e.g., illegal substance use, truanting from school, aggression,
bullying, obesity). Peer contagion has a powerful socializing effect on children beginning in
the pre-school years. By early childhood, the time spent interacting with same-age playmates
frequently exceeds time spent with parents (Ellis, Rogoff, & Cromer, 1981). Further,
characteristics of peer interactions in schools (e.g., aggression, coercive behaviours, mocking
peers) are carried over into the home environment (Patterson, Littman, & Bricker, 1967). By
middle childhood, gender is the most important factor in the formation of peer associations,
highlighting the significance of gender as the organizing principle of the norms and values
associated with gender identity (Fagot & Rodgers, 1998).

   (ii)    Deviancy training as a mechanism of social contagion

Different mechanisms of transmission of peer influence have been identified. Deviancy
training, in which deviant attitudes and behaviours are rewarded by the peer group have a
significant effect on the development of antisocial attitudes and behaviours such as bullying,
physical violence, weapon carrying, delinquency, juvenile offending, and substance abuse
(Dishion, Nelson, Winter, & Bullock, 2004). Aggression in adolescence becomes more covert
and deliberate and takes the form of exclusion, spreading rumours, and suborning relational
damage among an adolescent’s friendship network (Sijtsema, Veenstra, Lindenberg, &
Salmivalli, 2009). Interestingly, adolescents associated with peers who engage in instrumental
aggression became more instrumentally aggressive, while those associated with peers who
engaged in relational aggression became more relationally aggressive, demonstrating the
specificity of the effects of peer contagion via the deviancy training.




                                                                                    7|Page
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 10 of 70




   (iii)   Co-rumination as a form of social contagion

Another form of peer contagion in adolescence is co-rumination, a process of repetitive
discussion, rehearsal and speculation about a problematic issue within the peer dyad or peer
group that underlies peer influence on internalizing problems such as depression, anxiety,
self-harm, suicidal ideation and suicide (Schwartz-Mette & Rose, 2012). Co-rumination is
more common among adolescent girls (Hankin, Stone, & Wright, 2010) although a similar
phenomenon among boys has been observed. Being in a friendship that engages in
perseverative discussions on deviant topics has been associated with increased problem
behaviour over the course of adolescence. The longer these discussions, the greater the
association with deviant behaviour in later adolescence (Dishion & Tipsord, 2011).

Peer contagion may undermine the effects of positive socializing forces such as schools,
rehabilitation programs for young offenders, and treatment facilities for eating disorders
among others. Collecting same-minded adolescents into group programs may be counter-
productive because the peer influence impacts of a homogeneous peer group to maintain
disordered behaviours may be greater than the program effects of the treatment facility
(Dishion & Tipsord, 2011).

Young people are particularly vulnerable to peer contagion if they have experienced peer
rejection, hostility and/or social isolation from the peer group (Light & Dishion, 2007). On the
contrary, protective factors against peer contagion effects include secure attachment to
parents, adequate adult supervision and oversight of the young person’s activities, school
attendance, and the capacity for self-regulation (T. W. Gardner, Dishion, & Connell, 2008).

   (iv)    Social contagion has a causal effect on behaviour uptake

Establishing a causal role for the effect of peer behaviour on adolescents is difficult because
adolescents choose their peer networks; that is, they choose to associate with like-minded
adolescents and those exhibiting similar attributes (homophily). This raises the question: Do
adolescents choose their peers because they sanction and engage in similar behaviours or can
peer social networks explain the uptake of (new) behaviours in individuals in the network?
Sophisticated statistical models have been used to tease out the relative contributions of peer
selection and peer influence. Correctly attributing the effects of these two factors has



                                                                                     8|Page
    Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 11 of 70




important policy implications since most interventions for reducing risky behaviour among
adolescents are implemented at a school level (Ali & Dwyer, 2010).

     (v)     The special case of social contagion via social media

In the world of social media, social contagion takes on a new, less complex, and narrower
meaning:

     “Unlike the broadcasts of traditional media, which are passively consumed, social media
     depends on users to deliberately propagate the information they receive to their social
     contacts. This process, called social contagion, can amplify the spread of information in a
     social network” (Nathan & Kristina, 2014, p. 1).

For example, the social network ‘Instagram’ is one of the most popular platforms for
adolescents and young people, with 44% reporting Instagram to be an important part of their
daily lives (Feierabend et al. 2015). Analysis of content shows that it is a major vehicle for the
sharing of mental health issues, including depression, eating disorders, and non-suicidal self-
injury (NSSI) (Fischer et al. 2015).

Systematic reviews have identified both potential risks and benefits of online activity. On the
one hand, it reduces social isolation and offers encouragement, camaraderie, and reduction
of self-harm impulses. On the other, it enables, enhances, or triggers potential risks of
‘copycat’ behaviours such as NSSI, suicide, and eating disorders through normalization of
pathological behaviours, or vicarious and social reinforcement of these behaviours (Brown,
et al., 2017).

A number of studies have demonstrated the impact that social media can have on emotional
contagion. For example, one study3 demonstrated that interactions with others can alter our
mood in the direction of the mood of the person with whom we are interacting. A number of
mechanisms - for example, social influence, social selection, and shared external causation –
can impact our changes in mood. The phenomenon is prevalent in bounded social networks
such as touring orchestras where adolescent musicians have been observed to become more



3
 Block, P., & Burnett Heyes, S. (2020). Sharing the load: Contagion and tolerance of mood in social networks.
Emotion. Advance online publication. doi: https://doi.org/10.1037/emo0000952


                                                                                                   9|Page
    Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 12 of 70




reciprocally similar in mood to their close associates on tour. The observed emotional
contagion effects are greater for negative than positive moods.

In a study on Twitter posts 4 , the distribution of positive and negative comments varied
according to weekends and holidays. Figure 1 shows the trends.




Figure 1

Pain behaviour has also been shown to be affected by the social mechanisms of observation,
modelling, vicarious learning, social interaction and media reports. Both placebo and nocebo
hyperalgesia have been recorded in patients who observed confederates modelling pain
behaviour in response to social stimuli5.

While many studies show how emotions spread between individuals in direct contact, a novel
study demonstrated that online social networks produce emotional contagion in the same
way 6 . Using data from millions of Facebook users, the researchers showed that rainfall
directly influences the emotional content of their status messages, including messages of
friends in other cities who were not experiencing rainfall. Results showed that …”for every
person affected directly, rainfall altered the emotional expression of one to two other people,



4
  Golder SA, Macy MW (2011) Diurnal and seasonal mood vary with work, sleep, and daylength across diverse
cultures. Science 333: 1878–81.
5
   Benedetti, F. (2013). Responding to nocebos through observation: social contagion of negative
emotions. Pain, 154(8), 1165.
6
  Coviello, L., Sohn, Y., Kramer, A. D., Marlow, C., Franceschetti, M., Christakis, N. A., & Fowler, J. H. (2014).
Detecting emotional contagion in massive social networks. PloS One, 9(3), e90315.

                                                                                                    10 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 13 of 70




suggesting that online social networks may magnify the intensity of global emotional
synchrony” (p. 1165).


EVIDENCE FOR SOCIAL CONTAGION AMONG ADOLESCENTS
In this section, I review the evidence for social contagion among adolescents for four key
psychopathologies that arise in adolescence (eating disorders, marijuana use, non-suicidal
self-injury, and suicide) and compare the mechanisms of social contagion in these well
documented areas with evidence for social contagion in gender dysphoria.

   (i)     Anorexia nervosa

A number of researchers have identified the central role of social contagion in the
development and propagation of anorexia nervosa in adolescent girls (Allison, Warin, &
Bastiampillai, 2014). Adolescence is a time in which the focus on oneself becomes intense,
and for some, critical and unrelenting. The developing female body constitutes one of the
main objects of scrutiny. When this scrutiny is compounded by the collective inspection of all
of one’s body’s flaws, the peer group becomes a powerful crucible for both the development
and maintenance of disordered eating.

Intensification of peer influence in closed communities of like individuals, such as schools,
inpatient wards, residential units (Huefner & Ringle, 2012), or therapy groups often results in
the advocacy of the practices (e.g., self-starvation, compulsive exercise, deceitful practices
around eating) associated with anorexia nervosa (Dishion & Tipsord, 2011).

If we add social media and online networks as further sources of influence, affected
adolescents can effectively surround themselves exclusively with like minds, thereby
normalising cognitive distortions around eating and body image and making recovery very
difficult. These effects are further compounded by the high status of thinness in western
culture, and an ubiquitous focus on nutrition and exercise. Originally thought to be caused by
genetics and pathological family dynamics, this view was revised with the finding, using
longitudinal study designs and social network analyses, that same-gender, mutual friends
were most influential in the development of obesity in adulthood, with siblings and opposite-
sex friends having no effect (Christakis & Fowler, 2007).



                                                                                   11 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 14 of 70




   (ii)    Marijuana use among adolescents

Substance use amongst adolescents is a major public health issue (Fletcher, Bonell, &
Hargreaves, 2008), with a population study conducted by the Center for Disease Control and
Prevention showing that 10 percent of youths reported using illegal substances before the
age of 13, with marijuana the most frequently used substance (Chen, Storr, & Anthony, 2009).
Peer influence has long been suspected as a stimulus that amplifies risky behaviours in the
social network (Clark & Loheac, 2007; Lundborg, 2006).

Using the National Longitudinal Study of Adolescent Health (Add Health) (n=20,745)
representing a sample of adolescents from grades 7-12 in 132 middle and high schools in 80
communities across the USA examined the influence of peer networks in the uptake and
continued use of marijuana. The peer group was identified by the nomination of close friends
and classmates within a grade were used to identify the broader social network from which
friends were chosen (Ali et al., 2011).

Results showed that for every increase in marijuana use of 10 percent in adolescents in a close
friend network increased the likelihood of marijuana use by two percent. An increase of 10%
in usage in grade peers was associated with a 4.4 percent increase in individual use. Reporting
a good relationship with one’s parents, living in a two-parent household and being religious
were protective against marijuana uptake. When peer selection and environmental
confounders were held constant, increases in close friend and classmate usage by 10 percent
both resulted in a five percent increase in uptake in individuals within those networks

   (iii)   Non suicidal self-injury (NSSI)

NSSI is defined as a deliberate self-inflicted attack on one's own body without suicidal intent.
It excludes cultural practices such as ear piercing, tattooing, or circumcision, most of which
are performed by others. NSSI is defined as socially contagious when at least two people in
the same group inflict NSSI within a 24-hour time period. The social contagion of NSSI has
been reported in a variety of ‘closed’ social networks such as in inpatient units, prisons, group
homes, and special education schools, as well as in community samples of adolescents, young
adults and college students (Jarvi, Jackson, Swenson, & Crawford, 2013).




                                                                                     12 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 15 of 70




Adolescence (onset between 12 and 14 years) and early adulthood are high-risk
developmental periods for NSSI (Lloyd-Richardson, Perrine, Dierker et al., 2007). Between
14% and 21% of high-school aged adolescents report engaging in NSSI, with higher estimates
(30%-40%) for adolescent psychiatric populations (Muehlenkamp, Hoff, Licht, Azure &
Hasenzahl, 2008).

More recently, social media has been identified as an important conduit for social contagion
of NSSI among young people. Platforms such as Instagram have high-frequency occurrences
of pictures from adolescents who have self-harmed. When associations between
characteristics of pictures (e.g., seriousness and type of the self-injury) and comments (e.g.,
supportive, empathic, negative, offers of help) and weekly and daily trends of posting were
analyzed, patterns emerged suggesting social contagion. For example, the more serious
injuries attracted more views and comments. Social reinforcement, imitation and modelling
of NSSI through social media are the possible mechanisms whereby young people increase
their risk of engaging in NSSI through digital means (Brown, Fischer, Goldwich, Keller, Young,
& Plener, 2018; Fulcher, Dunbar, Orlando, Woodruff, & Santarossa, 2020).

    (iv)    Suicide

Although social ties are generally protective against loneliness, depression and suicide, social
ties can be toxic and can amplify the risk of psychopathology in members of a social network
(Christakis & Fowler, 2008). Exposure to the suicidal ideation or suicide attempts of significant
others increases the risk of suicidality in other network members (Abrutyn & Mueller, 2014).
Experiencing self-harm or suicide at close quarters may erode the emotionally regulating
effects of normative moral precepts against such behaviour (Mueller, Abrutyn, & Stockton,
2015). When vulnerable individuals share “ecologically bounded spaces” (p. 205) like schools
or the family home, this may increase suicide contagion if social relationships within those
spaces are psychopathological. Our emotional connections to members of our social
networks is the mechanism through which social learning and the development of normative
behaviours and attitudes are built. However, negative emotions are more “contagious” and
thus exert a greater impact on members (Turner, 2007).

Celebrity suicides also trigger spikes in suicide rates, with the greater visibility of the celebrity
and prolonged coverage of the suicide triggering higher spikes and longer duration of

                                                                                        13 | P a g e
    Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 16 of 70




elevation of rates of suicide amongst fans (Fu & Chan, 2013; Stack, 2005). Durkheim (1951)
highlighted the phenomenon of suicide outbreaks or “point clusters” defined as “temporally
and geographically bounded clusters” such as gaols, regiments, monasteries, psychiatric
wards, and First Nations reservations (Mueller et al., 2015, p. 206). Individuals in such
networks share a collective identity that appears to heighten subsequent suicides following
the suicide of the first decedent (Niedzwiedz, Haw, Hawton, & Platt, 2014).

Perhaps one of the most compelling studies on the social contagion of suicide is the study of
celebrity suicides by Ha and Yang (2021). This study tracked the suicides 10 days before a well-
publicised celebrity suicide and then the suicides 10 days after the suicide was reported in the
media. Figure 2 presents these data graphically.




Figure 27 Suicide trends before and after reporting of a celebrity suicide

The sharp increase in suicides following celebrity suicide was mostly accounted for by suicides
in the 10–29-year age group, the age group. Figure 3 shows the trends.




7
The y-axis indicates an approximate percent change in public suicide by corresponding day



                                                                                            14 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 17 of 70




Figure 3 Suicide trends by age group

When the data are segmented by sex (Figure 4), the figures show that females are more
susceptible to social contagion than males. The is exactly the same pattern of social contagion
we are witnessing in gender dysphoria – young females aged between 10 and 29 years. Is this
a coincidence?




Figure 4 Suicide trends by sex




                                                                                   15 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 18 of 70




A well-documented example of a suicide “echo” cluster (an identical suicide cluster occurring
within 10 years of a first cluster) occurred in two high schools in Palo Alto that, between them,
had suicide rates four to five times higher than the national average. In 2009, three students
committed suicide in a nine-month period by stepping in front of a commuter train. A fourth
student committed suicide by hanging. In 2013 a mental health survey showed that 12
percent of students from these schools had seriously considered suicide in the previous 12
months. Thereafter, there was another spate of suicides, with three students taking their lives
within three weeks of each other. A fourth committed suicide four months later by jumping
off a tall building and a fifth followed shortly afterwards by walking in front of a train. Extreme
perfectionism and pressure to excel at school, get into Stanford, make a lot of money, and be
ostentatiously successful materially and intellectually were assessed to be far too great a
burden for the more vulnerable students to withstand.

Using the same data set as the study examining marijuana use but following up four waves of
these participants into adulthood, Wave IV assessed suicidality in young adults aged 24-32.
This study showed that holding all other psychological risks constant, those young people
having a role model who attempted suicide were more than twice as likely to report suicidal
ideation in the following 12 months. Participants who had a friend or family member commit
suicide were 3.5 times more likely to attempt suicide themselves compared with those who
had no close associate attempt or commit suicide in the same 12-month timeframe. These
effects were enduring. Young adults who reported an attempted suicide of a role model were
more than twice as likely to report a suicide attempt six years after the role model’s attempt
compared with their otherwise similar peers. Attempting suicide in adolescence increased
suicidal ideation and suicide attempts in young adulthood. Significant risk factors for this
association included experiencing emotional abuse in childhood, a diagnosis of depression,
and a significant other attempting suicide. Thus, suicide contagion appears to be a significant
risk factor for suicide in young adulthood but contagion in this study did not require bounded
social contexts.


SOCIAL CONTAGION OF GENDER DYSPHORIA
The UK has reported a 4,000% increase in the number of children presenting to gender clinics
over the past 10 years. Similarly, Sweden has reported a 1,500% in the same time period.


                                                                                       16 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 19 of 70




Commentators on the burgeoning incidence of young people claiming that they are
transgender assert that peer contagion may underlie this ominous trend. However, it has
rarely been systematically studied either theoretically or empirically. Given the strong
evidence of peer contagion in suicide, substance abuse and eating disorders, especially
among adolescents, the role of peer contagion in gender dysphoria demands urgent
attention.

If we examine the gender dysphoria epidemic in social network terms, we see several features
operating. It is an open-system network with nodes and ties expanding across the oceans to
the US, UK, Asia, Europe, Scandinavia, and Australia. Most countries are reporting sharp
increases in the number of people seeking services and treatment for gender dysphoria. Many
are ramping up services and setting up new gender clinics to cope with demand. This network
is highly centralised with only one voice – the transactivist lobby - being heard above the
desperate whispers of terrified parents and horrified academics, doctors, psychologists and
psychotherapists. Opinion leaders operating at the centre of these networks are very
influential. The level of density in a network has two effects – firstly, it enhances the
circulation of information between members and secondly, it blocks the introduction of
dissenting ideas and evidence (Iyengar, Van den Bulte, & Valente, 2011).

The field is too young to have attracted researchers to undertake social network analyses to
assess peer contagion effects in gender dysphoria. Hence, formal empirical studies have not
yet been conducted. However, there is evidence from several sources that peer contagion
may be a relevant factor in the sharp increases in young people presenting with gender
dysphoria.

   (i)       Low gender typicality, peer victimization, ingroups and the trans-lobby

Low gender typicality (i.e., perceived lack of fit within one’s binary gender) has a significant
impact on social acceptance within one’s peer group (Sentse, Scholte, Salmivalli, & Voeten,
2007). It is strongly associated with adjustment difficulties, behavioural problems, lower self-
esteem, and increased internalizing disorders (e.g., anxiety, depression) (Smith & Juvonen,
2017). As children progress to adolescence, peer as opposed to parental acceptance becomes
paramount. Peers therefore take over the role of gender socializing agents from parents
(Blakemore & Mills, 2014). Adolescent peers tend to be critical of behaviours, dress,

                                                                                    17 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 20 of 70




mannerisms and attitudes that are not gender typical as a way of policing and reinforcing
gender norms and respond with criticism, ridicule, exclusion and even intimidation of non-
conformers (Zosuls, Andrews, Martin, England, & Field, 2016). Research shows that the
problems accruing to low gender typicality are mediated by peer victimization and that
reducing peer victimization may ameliorate these difficulties (Smith & Juvonen, 2017).
Conversely, peer acceptance mediated the self-worth of gender non-conforming 12- to 17-
year-olds (Roberts, Rosario, Slopen, Calzo, & Austin, 2013). Gender non-conformity and
gender atypicality have also been associated with higher physical and emotional abuse by
caregivers (Roberts, Rosario, Corliss, Koenen, & Austin, 2012). Mental health is difficult to
sustain in the face of caregiver abuse and peer bullying and victimization (Aspenlieder,
Buchanan, McDougall, & Sippola, 2009). Indeed, gender non-conforming and gender atypical
youth are at higher risk of depression, anxiety and suicidality in adulthood (Alanko et al.,
2009).

It is tempting to speculate that these groups of young people, searching for homophily (i.e.,
like peers) started to exaggerate their points of difference from their gender-conforming
peers rather than to hide and minimize them to avoid being bullied and excluded. In so doing,
they left the “outgroup” of nonconformers and formed an ingroup of extreme gender-
nonconformers, transcending the gender barrier altogether and declaring themselves
transgender. Suddenly, the discomfort and fear of not being gender typical becomes a virtue
and rather than fearing the disapprobation of their peers, their open revolt in declaring
themselves transgender is valorised by a politically powerful transactivist lobby. One would
expect that gender atypical children who feel both internal and external pressure to be
gender conforming would experience greater discomfort (Carver, Yunger, & Perry, 2003) and
therefore be more susceptible to the message of trans activism.

Ingroups behave in stereotypical ways with respect to outgroups – they favour ingroup
characteristics, assigning more positive attributes to its members and derogating outgroups
in order to enhance the status of their ingroup (Leyens et al., 2000). It is not surprising, then,
that members of the transgender ingroup exaggerate the characteristics of the “trans” gender
they take on – becoming more “feminine” or “masculine” than heteronormative groups of
cismen and ciswomen. Transactivist groups have proliferated and consolidated in a short time
frame by exploiting the characteristics of ingroups and outgroups. For example, social

                                                                                      18 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 21 of 70




projection (i.e., the belief that other members of the group are similar to oneself) has been a
powerful integrating process that simultaneously creates protection for its own members and
distance from outgroup members, using the formula, “if you are not with us, you are against
us” – those disagreeing with the ideology of the trans-lobby are labelled “transphobic” and
publicly denounced.

   (ii)      Rapid onset gender dysphoria (ROGD) and the role of social media

The upsurge in rapid onset gender dysphoria (ROGD) tends to occur mostly in girls at around
the age of 14 years, which is an age identified by developmental psychologists to be
particularly susceptible to peer influence (Steinberg & Monahan, 2007). For example, a study
of peer contagion for risky behaviours found that exposure to risk-taking peers doubled the
amount of risky behaviour in middle adolescents, increased it by 50% in older adolescents
and young adults, and had no impact on adults (M. Gardner & Steinberg, 2005). This group of
young people were likely to belong to peer groups in which one or more of their friends had
become gender dysphoric or transgender identified. Their coming-out announcement to
parents also tended to be preceded by recent increases in their daughters’ social media and
internet usage. It is only a small step to understanding the social contagion of ROGD in this
age group.

Lisa Littman (2018) canvassed the perceptions of parents who had children who displayed
ROGD during or just after puberty. There were 256 respondents, of whom 83% had daughters,
with a mean age of 15.2 years when they declared themselves transgender,41% of whom had
previously expressed a non-heterosexual sexual orientation, and 62.5% of whom had received
a diagnosis for a mental health disorder (e.g., anxiety, depression) or a neurodevelopmental
disability (e.g., autism spectrum disorder). Thirty-seven percent (37%) of these young people
belonged to peer groups with other members identifying as transgender. Parents also
reported a decline in their child’s mental health (47%) and relationship with parents (57%)
after declaring themselves transgender. Thereafter, they preferred transgender friends,
websites, and information coming from the transgender lobby.

An indicative case study was written up in an article for The Atlantic by Jesse Singal (2018), in
which a 14-year-old girl decided she must be trans because she was uncomfortable with her
body even after she restricted her food intake, was finding puberty uncomfortable, had

                                                                                     19 | P a g e
    Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 22 of 70




difficulty making friends, was feeling depressed and was lacking in self-confidence. Against
this backdrop of woes, she came across MilesChronicles8, the website of an omnipotent and
histrionic transboy, now a young transman. Watching this video resulted in Claire pouring all
her sadness and unease about herself into the “realisation” that she was really a “guy.” Miles
made transitioning appear easy and simple, was effusive in his praise of his new self and
supportive of others to follow suit. This is a very common scenario reported by parents of
teenage girls with ROGD.

Such websites, all easily accessible to vulnerable adolescents, can have a very persuasive
effect on viewers. Recent studies show that contagion is enhanced when the influencer is
perceived to have high credibility and reduced when the influencer is perceived to have low
credibility. A similar effect is observed if the influencer belongs to an out-group or an in-group
(Andrews & Rapp, 2014). Miles is the quintessential trans pinup icon with a “You can be just
like me if you transition!” message.

Following YouTube posts and social media with respect to the transgender debate over the
past few years, I have noticed that posts that depict young people struggling with their gender
identity or questioning their decision to take puberty blocking agents and cross-sex
hormones, or to undergo what is euphemistically called sex reassignment surgery are rapidly
taken down so that only a homogenous message that matches the strident messaging of the
transactivist lobby is on display in the ether.

A recent Swedish study9 tracked referrals and attendances at gender clinics of young people
following major media events related to transgender health care in 2019. One event was
positive, and two media events [i.e., the airing of “The Trans Train and the Teenage Girls,”10
a 2-part documentary series broadcast on April 3, 2019 (event 2), and October 9, 2019 (event
3)] determined as negative portrayed gender transition as dangerous and damaging. In the
three months following one of the negative media events, referrals decreased by 25% overall
– there was a 32% reduction in female referrals - and by 25% for young people aged 13-18

8
  MilesChronicles - YouTube
9
  Indremo, M., Jodensvi, A. C., Arinell, H., Isaksson, J., & Papadopoulos, F. C. (2022). Association of media
coverage on transgender health with referrals to child and adolescent gender identity clinics in Sweden. JAMA
network open, 5(2), e2146531-e2146531.
10
   . Mission: Investigate. The trans train and the teenage girls. Tranståget och tonårsflickorna. Video in
Swedish. Swedish Public Service Television Co. April 3, 2019. Accessed December 28, 2021.
https://www.svtplay.se/video/ 21717158/uppdrag-granskning/uppdrag-granskning-sasong-20-avsnitt-12

                                                                                                20 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 23 of 70




years. On the contrary, increased positive media coverage of trans issues resulted in an
increase in referrals to gender clinics11.

Nonetheless, a statement released in August 2021 by the Coalition for the Advancement &
Application of Psychological Science (CAAPS)12 called for the elimination of the use of Rapid-
Onset Gender Dysphoria (ROGD), “given the lack of rigorous empirical support for its
existence,” although this evidence abounds (see next section on empirical evidence).
Deplorably, CAAPS did not see fit to question the exponential increase in the adolescent trans
phenomenon, both in declarations and referrals to gender clinics across the globe13 nor how
these new referrals differed substantially in profile from previously recorded demographics
of transgender young people along dimensions of age of onset, sex ratio, comorbid mental
health issues14 and clustering.


EMPIRICAL EVIDENCE
In recent decades, there has been an unmistakably sharp increase in the population estimates
of young people identifying as transgender. A retrospective analysis15 (Figure 5) of the pattern
of referrals to gender clinics from 1976 to 2011 is instructive in demonstrating the shifting

11
   Pang KC, de Graaf NM, Chew D, et al. Association of media coverage of transgender and gender diverse
issues with rates of referral of transgender children and adolescents to specialist gender clinics in the UK and
Australia. JAMA Netw Open. 2020;3(7):e2011161. doi:10.1001/jamanetworkopen.2020.11161
12
   https://www.caaps.co/rogd-statement
13
  de Graaf, N. M., Giovanardi, G., Zitz, C., & Carmichael, P. (2018). Sex ratio in children and adolescent referred
to the Gender Identity Development Services in the UK (2009–2016) [Letter to the Editor]. Archives of Sexual
Behavior, 47, 1301–1304;
Frisén, L., Söder, O., & Rydelius, P. A. (2017). [Dramatic increase of gender dysphoria in youth].
Lakartidningen.            Retrieved            from            http://lakartidningen.se/Klinik-och-vetenskap/Klinisk-
oversikt/2017/02/Kraftig-okning-av-konsdysfori-bland-barn-och-unga/.
Kaltiala-Heino, R., Sumia, M., Työläjärvi, M., & Lindberg, N. (2015). Two years of gender identity service for
minors: Overrepresentation of natal girls with severe problems in adolescent development. Child and Adolescent
Psychiatry and Mental Health, 9, 9.
14
   Aitken, M., Steensma, T. D., Blanchard, R., VanderLaan, D. P., Wood, H., Fuentes, A. … Zucker, K. J.
(2015). Evidence for an altered sex ratio in clinic-referred adolescents with gender dysphoria. Journal of Sexual
Medicine, 12, 756–763.
Ashley, F. (2019). Shifts in assigned sex ratios at gender identity clinics likely reflect changes in referral patterns
[Letter to the Editor]. Journal of Sexual Medicine, 16, 948–949.
Becker, I., Gjergji-Lama, V., Romer G., & Möller, B. (2014). Characteristics of children and adolescents with
gender dysphoria referred to the Hamburg Gender Identity Clinic [German]. Prax Kinderpsychol Kinderpsychiatr,
63, 486–509.
Littman, L. (2018). Parent reports of adolescents and young adults perceived to show signs of a rapid onset of
gender dysphoria. PLoS ONE, 13(8), e0202330.
15
   Wood, H., Sasaki, S., Bradley, S. J., Singh, D., Fantus, S., Owen-Anderson, A., ... & Zucker, K. J. (2013). Patterns
of referral to a gender identity service for children and adolescents (1976–2011): age, sex ratio, and sexual
orientation. Journal of Sex & Marital Therapy, 39(1), 1-6.

                                                                                                        21 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 24 of 70




patterns of presentations of young people to gender clinics. The sample comprised 577
children aged 3-12 years and 253 adolescents aged 13-20 years. Prior to around 2000, the
child referrals greatly exceeded referrals of adolescents. After that time, there was a steep
and significant increase in adolescents. Also of interest is that the overall sex ratio of male to
female children was 4.5:1 (boys:girls). For three-year-olds the ratio was 33:1 (boys:girls). The
ratio dropped to 3.4:1 in the last cohort of children (2008-2011). The adolescent sex ratios
were at parity but by 2008-2011 girls exceeded boys.




Figure 5 Number of children and adolescents referred to gender clinics 1976-2011)

For the adolescents in this study, data on sexual orientation were available for 248
participants. Using standardized measures 16 to assess heteroerotic and homoerotic sexual
orientation in fantasy, 76% of the girls were classified as homosexual compared with 57% of
boys. These figures vastly exceed population estimates of homosexuality and begs the
question as to whether many young people presenting to gender clinics are confused about
their sexual orientation, experience socialized and/or internalized homophobia or do not
understand the difference between gender identity and sexual orientation.




16
  Zucker, K. J., Bradley, S. J., Owen-Anderson, A., Kibblewhite, S. J., Wood, H., Singh, D., & Choi, K. (2012).
Demographics, behavior problems, and psychosexual characteristics of adolescents with gender identity
disorder or transvestic fetishism. Journal of Sex & Marital Therapy, 38, 151–189.

                                                                                                       22 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 25 of 70




Another study, a meta-regression of population-based probability samples provides
compelling evidence of this trend, where estimates have more than doubled in the space of
eight years from 2007 to 2015 (See Figure 6).




Figure 617 [Source: Meerwijk & Sevelius (2017)]


Similarly, upward trajectories of enrolments in GD clinics have been observed in the UK and
Australia. Figure 7 summarizes the trends.




17
  Meerwijk, E. L., & Sevelius, J. M. (2017). Transgender population size in the United States: a meta-regression
of population-based probability samples. American Journal of Public Health, 107(2), e1-e8.
https://ajph.aphapublications.org/doi/pdfplus/10.2105/AJPH.2016.303578


                                                                                                   23 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 26 of 70




              Numbers of young people seeking treatment in GIDS clinics in
                            UK and Australia, 2010-2020
 3000

                                                                                           2590
 2500                                                                            2444


 2000
                                                                       1919

 1500                                                                                              1473
                                                                1361                       1354

 1000

                                                   678                           650
  500                                                                  575
                                           471              407
                                    309             274
                    138     209             163
    0    77
         0          0       0       0
     2010       2011    2012    2013    2014    2015    2016    2017          2018      2019      2020

                                           UK       Australia


Figure 7
Source: Kenny, D.T. (2021). Australian data provided by the gender clinics under freedom of
information applications


Perusal of the UK graph indicates a doubling of the number of referrals in 2015-2016
compared with the previous year. There is a continuous, but less steep increase until 2017,
which is followed by a slowing of referral growth rates between the two years 2017-2018 and
2018-2019.

In each of these samples, these numbers would comprise two groups of young people, a core
group of “actual” cases and the additional cases created by social contagion. Within the actual
cases, there would be the group who declared themselves and a group of latently gender
dysphoric young people who have not felt able to declare themselves until recently because
of greater community acceptance and support from the transgender lobby and social media.
This latter group of “actual” cases and the ROGD group have both been affected by social
contagion.

Further analysis is required to determine the nature of the clustering of these increased
numbers. In school-aged children, one would expect to see multiple cases in particular high
schools. If gender dysphoria referrals occurred independently of each other, one would

                                                                                           24 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 27 of 70




expect to see referrals per high school follow a Poisson distribution, in which the variance is
equal to the mean. A clustering effect would be hypothesised if the variance were greater
than the mean. The strongest indicator of social contagion would occur if the ROGD young
people showed strong clustering effects. Evidence that this may in fact be the case is provided
by the distribution of new referrals by age and sex in the GIDS sample (Tables 2 and 3), where
new referrals in the 12–16-year group far exceeds those in younger and older age groups.

Table 2 Age at referral to GIDS, UK in 2018-20       Table 3 GIDS figures from England by sex at birth

 Age at         Number of
 referral       referrals
     3 and 4             10
        5                21
        6                21
        7                42
        8                34
        9                43
       10                59
       11                78
       12               135
       13               331
       14               511
       15               529
       16               474
       17                88
       18                30
Source: NHS (2019)

Age groups segmented by sex show much
larger proportions of females seeking gender
transition – for 13-year-olds, girls accounted
for 86% of referrals, for 14-year-olds, girls
accounted for 82% of referrals and for 15-year-
olds girls accounted for 76% of referrals.




Data from Australia (Figure 8) also show an upward trajectory in the number of children
enrolled in gender clinics in the five states of Australia that offer a gender service over the
period 2014-2020.

                                                                                    25 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 28 of 70




              NUMBER OF CHILDREN ENROLLED IN GD CLINICS BY STATE IN AUSTRALIA,
                                       2014-2020

 600

 500

 400

 300

 200

 100

     0
                 SA                    NSW                  WA                     Vic                  Qld

                                2014     2015    2016     2017     2018     2019     2020


Figure 8
Source: Kenny, D.T. (2021). Data provided by the gender clinics under freedom of information
applications

The noteworthy feature of this graph is that three states (WA, Queensland and Victoria) show
similar increases over the five-year study period (2014-2020), although Queensland showed
a downturn in 2020. While figures in NSW increased, the magnitude of absolute numbers was
significantly lower than for the other states. Overall, Victoria had the largest numbers. It is
also a state where the trans lobby has been particularly vocal, where the concept of the “safe
schools” policy was conceived and implemented, and where the gender clinic at the Royal
Children’s Hospital, Melbourne has assumed the mantle of trailblazer in the gender transition
enterprise in Australia.


Figures from the Nordic countries18 show very similar patterns as those described above. See
for example, Figure 9 below.




18
  Kaltiala, R., Bergman, H., Carmichael, P., de Graaf, N. M., Egebjerg Rischel, K., Frisen, L., ... & Waehre, A. (2020).
Time trends in referrals to child and adolescent gender identity services: a study in four Nordic countries and in
the UK. Nordic Journal of Psychiatry, 74(1), 40-44.

                                                                                                         26 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 29 of 70




Figure 9
Table 482 shows the dramatic increases in just a six-year time frame between 2011 and 2017
in the four Nordic countries and the UK (for comparison).




These population adjusted rates are orders of magnitude higher than those observed in
transgender adult populations19. Rapid changes in any relevant biological factors that could
possibly account for these trends across global populations appears both unlikely and
implausible.
Figure 1020 shows the total number of young people taking puberty blockers and cross-sex
hormones over the seven-year study period across Australia.


19
  Zucker KJ. (2017). Epidemiology of gender dysphoria and transgender identity. Sex Health, 14(5):404–411.
20
  NSW supplied “0” in each data cell for each of the seven years. A follow-up inquiry to Sydney Children’s
Hospital Network (Ref No: SCHN18/7854, 6/8/19) indicated “Sydney Children's Hospitals Network (SCHN) does
not provide cross sex hormones at The Children's Hospital at Westmead. [O]ccasionally SCHN sees a patient in
a cross-over transition phase who has had stage two treatment initiated by an adult physician, as The Children's
Hospital at Westmead pharmacy is still providing the patient's treatment in that cross-over phase. However,

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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 30 of 70




                   Total receiving puberty blockers (PB) and cross sex hormones (CSH) in
                                     GD clinics in Australia, 2014-2020
 300

                                                                        271
 250
                                                                                                  228
                                                                                    219
 200                                                                                201           202


 150                                                     154


 100
                                           87
                                                                        70
  50                                                     57
                              43
               27
                              18           20
   0           4
            2014          2015         2016           2017           2018       2019          2020

                                                 PB            CSH



Figure 10

Source: Kenny, D.T. (2021). Data provided by the gender clinics under freedom of information
applications

Finally, in case we are left in any doubt about why these numbers have been rapidly increasing
over the past 10-15 years, Figure 11 shows the increase in the number of gender clinics across
the USA in the past 15 years, from 2007 to 2022.




their primary care at this stage is under the adult physician who prescribes the stage two therapy. The zero-
response provided in the GIPA Notice of Decision is correct but that there may be instances in which children
are receiving active stage 2 treatment elsewhere while still attending The Children's Hospital at Westmead
clinic”.




                                                                                               28 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 31 of 70




Figure 11 Number of gender clinics in USA and Canada in 2007 and 2022.




                                                                         29 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 32 of 70




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        composition       matter?       Applied     Cognitive      Psychology,       28(4),     505-517.
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                                                                                        34 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 37 of 70




CHAPTER 2

THERAPY FOR TRANSGENDER DECLARING ADOLESCENTS
Abstract

In this chapter, I present a detailed account of exploratory psychotherapy with an adolescent
and a number of case studies of young people whom I have treated for gender dysphoria.
Through respectful engagement, building of the therapeutic relationship and establishment
of rapport and safety, these young people gradually reveal their developmental struggles and
strivings, their complex and conflicted interpersonal relationships and growing understanding
of their own intrapsychic process that will hopefully equip them to make informed decisions
about their lives when they reach the age of majority. To deny young people the opportunity
to engage in exploratory psychotherapy when they declare a transgender identity would risk
exposing them to iatrogenic harm, which they may come to deeply regret. First, I present a
detailed case study demonstrating how family, developmental history and social influences
intersect in the formation of a transgender identity. I then present summaries of other cases
to demonstrate how factors such as developmental psychopathologies and struggles with
sexual orientation problematize young people’s endeavours to understand themselves.


INTRODUCTION
The Cass Review21 into the GIDS (Gender Identity Development Services) in the UK concluded:

          Primary and secondary care clinicians have reported to the Review that they are
          nervous about seeing children and young people with gender-related distress because
          of lack of evidence and guidance about appropriate management, and the toxicity of
          the societal debates. Some clinicians also reported feeling unable to undertake the
          process of assessment and differential diagnosis that would be the norm in their
          clinical practice because they perceived that there is an expectation of an
          unquestioning affirmative approach. They felt that this was at odds with a more open
          and holistic evaluation of the factors underpinning the young person’s presentation,
          and consideration of the full range of possible support and treatment options.


21
     https://www.bmj.com/content/376/bmj.o629

                                                                                   35 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 38 of 70




The report also acknowledges that received medical wisdom about the treatment of young
people with gender dysphoria is inappropriate and inapplicable to the young ROGD people
currently presenting to gender services, in particular adolescent females who are now
accepted to be influenced by the forces of social contagion. These include those with mental
health issues, various forms of neurodiversity, and those from dysfunctional and disrupted
families.

In a sample of 56 children appearing before the Family Court in Australia for permission to
proceed to cross sex hormones, 25 of 39 cases in which family constellation could be
discerned lived in single parent families or foster care, with only 14 from two parent families.
In this same group of 56 children, 50% had a diagnosed psychological disorder, including six
with autism spectrum disorder (ASD), major depression, anxiety, oppositional defiance
disorder (ODD), ADHD, or intellectual disability. A recent study has shown a higher prevalence
of gender dysphoria in those with ASD22.

In a sample of 105 gender dysphoric adolescents and using the Diagnostic Interview Schedule
for Children (DISC), anxiety disorders were found in 21%, mood disorders in 12.4%, and
disruptive disorders in 11.4% of the adolescents. Males had greater psychopathology
compared with females, including comorbid diagnoses23.

Case studies from the public domain

In the early stages of attempting to understand young people identifying as transgender, I
studied a large number of publicly available posts that young people had shared on the
internet. Close reading of these scripts assisted my own theorizing about the psychodynamics
of the transgendering process. Here are some examples:

Alex

Alex (a biological female), aged 12, petitioned the Family Court of Australia to permit her to
transition. The Court made orders allowing the commencement of puberty-suppressing


22
   van der Miesen, A. I. R., Hurley, H., Bal, A. M., & de Vries, A. L. C. (2018). Prevalence of the wish to be of the
opposite gender in adolescents and adults with autism spectrum disorder. Archives of Sexual Behavior. doi:
10.1007/s10508-018-1218-3
23
   de Vries, A.L.C, Doreleijers, T. A. H., Steensma, T. D., & Cohen-Kettenis, P. T. (2011). Psychiatric comorbidity in
gender dysphoric adolescents. Journal of Child Psychology and Psychiatry, 52(11), 1195-1202.
doi:10.1111/j.1469-7610.2011.02426.x

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     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 39 of 70




hormone medication because of the intense distress Alex felt at her emergent feminine body.
At 17, the Court granted permission for a double mastectomy. Psychiatric evidence indicated
a traumatic childhood, in which Alex’s mother rejected her completely. However, she had a
close and idealised relationship with her father, who wanted her to be a boy and who treated
her as such, even teaching her to urinate in the standing position. He died suddenly when
Alex was six. Psychiatric evaluation revealed significant early trauma and concluded that
"Alex's cross-gender identification appears to have emerged in the context of an idealised,
physically close relationship with her father, rejection and abandonment by her mother, and
her father's desire for her to be a male … Her investment as male simultaneously expresses
anger towards her mother and maintains closeness with her dead father... in the context of
her incomplete mourning for him"24.

Ariel

Ariel, transfemale, aged 13, who had commenced puberty blockers, insisted on being called
by the name of a different Disney princess every day, until she settled on the name, Ariel:

          I remember… when everyone was talking about having babies and it really makes me
          upset. I don’t want to tell them to stop talking about it… but it hurts my feelings when
          they’re talking about it… I am like a girl, but can I have the pain of labour? For a lot of
          people, it is hard for them to understand, but I don’t want to burden them with that.
          Sometimes I just walk away and sometimes I try to get into the conversation, but it’s
          hard”. Her remarkably perceptive friend then says, “You can get so close to being a
          girl but you can’t get to that exact point. Is that what upsets you?” Ariel says “Yeah,
          that’s exactly how I feel, the thing with having a baby, I can never be fully there. It is
          a natural thing that happens. I buy a bra but it’s not to hold in my boobs – it is an
          illusion. It felt like an act, so I feel lost sometimes25.

Ariel articulates her lived experience of impersonating a girl rather than becoming one or
being one. None of the culturally feminine ideals and products with which she surrounds




24
    Kissane, K. (2009). Young people, big decisions.              Retrieved 21    May    2018,   from
https://www.smh.com.au/national/young-people-big-decisions-20090504-arxc.html

25
     (https://www.youtube.com/watch?v=sTfQ44HFu6k

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     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 40 of 70




herself can fully convince her that she is female. She acknowledges that it is an “illusion”, “an
act”, and she feels “lost” that a true gender identity eludes her.

A transmale (unnamed)

A transmale, aged 13, had this to say about the role of the internet in his “coming out as
trans”:

          The internet is the best place for trans people, it is the best place you can go to if you
          are scared about talking to anyone. TUMBLR Oh, My God! TUMBLR! Youtube too.
          That’s how I found out that I was trans – it was from a youtube video26…

This young person appeared to have no caring, empathic adult with whom to share his
identity/gender confusion and turned to the internet to seek out like minds, that is, to find
his “true” in-group. Seeking and finding membership in a valued in-group enhances self-
esteem and feelings of belonging and affiliation (Buck, Plant, Ratcliff, Zielaskowski, & Boerner,
2013). Feeling alienated and marginalised in the “real” world, the virtual world of the internet
appears to provide a substitute community missing in the child’s real world. However, there
is no opportunity to reality-test in such a process, and this young person may have
commenced down a dangerous path in order to experience social inclusion. One can also
characterize this process as social contagion, since it is likely that the transgender in-group
comprise members who are also seeking inclusion and validation in an in-group. For another
example of this process27, in which a young boy says that the internet is “hugely important”
particularly when parents are disapproving.

John

John, age 16, transmale,

          For as long as I can remember, I always felt male. I did come out to my parents as
          lesbian, sometime around seventh grade. I thought, “Oh well, I seem to wear boys’
          clothes all the time, I feel masculine, and I realise that I like girls, so then I thought,
          “OK, I must be a lesbian. That was tough. My dad, he wouldn’t have any part of it. He
          said, “This is not a world that you are going to be a part of.” Then, when I got to my


26
     https://www.youtube.com/watch?v=sTfQ44HFu6k
27
     https://www.youtube.com/watch?v=eYOuqgoxAik

                                                                                         38 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 41 of 70




         freshman year, I identified as trans, so I came out to them again as a transmale. I
         always had a hard time making friends. I was a very strange kid. I would just feel bad
         because every day I went to school, I felt like everybody wanted me to go; nobody
         wanted me there. One of the girls said, “Man, you are an ugly dyke. You are a lesbian.”
         I went from shaky, to unstable, to almost impossible. I started drifting off to a very
         violent place in my head. I had thoughts of harming my family. It got so bad, I felt like
         a threat to my family, and to myself. One night, I went down to my mom and said that
         I wanted her to take me to a hospital; I wanted to get locked up.

This transcript demonstrates the confusion experienced by some young people with gender
dysphoria as to their sexual orientation and gender identity, with some believing they are
transgender when they are in fact homosexual/lesbian. Existing theories of transgender also
conflate these two dimensions, based as they are on a “coming out” model developed for
people with lesbian/gay orientations. There has also been a tendency to conflate gender
identity with sexual orientation in seeking causal explanations28.

From these and my own cases, I developed the following intake assessment.


INTAKE ASSESSMENT
A very careful intake assessment of every young person presenting with gender concerns
needs to be undertaken. I have developed the following:

       i. Family constellation, family conflict /dysfunction, marital and sibling dynamics

      ii. Trauma, physical, emotional, and/or sexual abuse, attachment disorders

      iii. Psychological evaluation – ADD/ADHD, ASD, learning disability, self-harm, suicidality,
         suicide attempts, anxiety, depression, incipient BPD, and psychosis

      iv. History of body dysmorphia, eating disorders




28
  Katz-Wise, S. L., Budge, S. L., Fugate, E., Flanagan, K., Touloumtzis, C., Rood, B., . . . Leibowitz, S. (2017).
Transactional pathways of transgender identity development in transgender and gender-nonconforming youth
and caregiver perspectives from the Trans Youth Family Study. International Journal of Transgenderism, 18(3),
243-263.


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 Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 42 of 70




   v. School life experiences e.g., attitude towards school, peer rejection, bullying,
      truanting, academic performance, post school aspirations

  vi. Cognitive immaturity, concrete thinking, cognitive rigidity, and cognitive distortions,
      lack of understanding or misunderstanding of gender ideology and capacity to
      critically review it (given the illogical and scientifically unsound basis of the ideology)

  vii. Perceptions and misperceptions of gender roles

 viii. Degree to which there is understanding of the gravity and irreversibility of
      medical/surgical transition; what gender affirmation treatment entails, and the
      consequences of treatment (e.g., infertility, sexual dysfunction, complications of
      cross-sex hormones and surgery, lifelong patienthood, relationship complexity).

  ix. Sexual experience history – sexual relationships, sexual abuse experiences, sexual
      knowledge, sexual anxiety

   x. Emerging awareness of ego dystonic sexual orientation - > internalized homophobia

  xi. Social contagion (influence of social milieu e.g., schools, gender clinics, internet,
      online transgender communities)

  xii. Systemic function of ROGD e.g., defiance of parents, finding an “in group,” being
      “seen”, denying the development of their sexed bodies, fear of adulthood, fear of
      sexual relationships.

Psychodynamic Formulation

  Identity is not hard-wired – it develops in a social world where the young person
  experiences attachments, trauma, abuse, or misperceives the meaning of experiences
  because of cognitive immaturity or concrete thinking. Clinicians need to explore
  identifications (I want to be like…) and dis-identifications (I do not want to be like…) within
  the family, the peer group, and the social milieu.

  The vulnerable (traumatized) part of the self is hated so it is subsumed into the
  omnipotent self which is the part that suppresses doubts and anxiety and presses for
  transition. If the traumatized self pushes for recognition of psychic pain, the young person
  may resort to self-harm and suicidal ideation which is a form of acting out of their self-

                                                                                     40 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 43 of 70




      hatred against their bodies. Affirming clinicians collude with the patient’s own attacks on
      the traumatized self by “traumatizing” their young patients’ bodies with cross-sex
      hormones and mutilating surgery. In the hope that transition will restore the young
      person to an ideal state, medics become omnipotent creators of this ideal state. When
      this fails, the patient sinks into further self-hatred which is enacted through self-harming
      and suicidal states.

The majority of GD young people have had very limited life experience. For example, they

      i. have had no sexual experience (other than crushes from a distance, hand holding and
         kissing)

      ii. disdain genital sex as “gross”

     iii. are indifferent to loss of sexual function and fertility, claiming that they never want
         to have children

     iv. are confused about the nature of “trans” relationships e.g., a self-declared non-binary
         male (natal sex = male) in a relationship with a transgender declaring natal female (i.e.,
         a trans man) told their parents they were in a gay male relationship. Similarly, two
         natal females, both transmen, rejected the suggestion that they were a lesbian couple
         and stated that they were a gay male couple.

It is imperative to keep the developmental path open into adulthood because frontal lobe
maturation continues to occur into the early 20s. Further, there are several final trajectories
for gender-nonconforming children. The trajectory of gender-nonconforming children varies
greatly, and therefore, not all gender-nonconforming children will report persisting gender
dysphoria once pubertal changes begin to develop. Prospective studies show that the
majority of gender-nonconforming children will report being a sexual minority at some point
later in life. An individual child’s trajectory may not be known until later in life and it is
imperative that this not be disturbed by iatrogenic interference29.




29
  Leibowitz, S. F., & Telingator, C. (2012). Assessing gender identity concerns in children and adolescents:
evaluation, treatments, and outcomes. Current Psychiatry Reports, 14(2), 111-120

                                                                                                    41 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 44 of 70




Psychological trauma from the past forms part of one’s psychic structure in the present. The
expression of these traumas is socio-culturally embedded, that is, social contagion permits
particular forms of “acting out” of these traumas. Envy and rivalry are an integral part of
human condition; unconscious envy is a factor in trans identification. GD adolescents need
assistance to explore their defences and internal psychic conflicts and to manage their psychic
pain before irreparably altering their bodies. “The body is used to act out something that
cannot be accepted or processed by the mind.” (Evans & Evans, 2021, Ch 2, p. 28). Clinicians
should not collude with the phantasy that the “embodied” self can be altered or removed.

Sexual development poses a threat to young people as it signifies approaching adulthood, the
demands of which they feel ill equipped to manage. ROGD may be conceptualized as a
“trauma” or a response to the reality of puberty that one now has a sexed body. Rigid
adherence to peer norms temporarily assuages vulnerabilities because the young person has
found others like him/her who are acting out in the same way. The desire for transition could
be:

       i. related to a grievance against the parents and a struggle for autonomy/individuation

      ii. part of a process of identification and disidentification with parents and siblings

      iii. related to an idea that one can create an ideal self

      iv. protective against feelings of inadequacy, anxiety, jealousy, and disappointment

      v. a triumph over feelings of vulnerability

      vi. a repudiation of the sexed body and adulthood

                                                                                       42 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 45 of 70




DEVELOPMENTAL TRAJECTORIES OF                                      YOUNG            PEOPLE
DECLARING THEMSELVES TRANSGENDER
Alicia

Alicia was a 14-year-old ROGD adolescent at the time of coming out as trans and starting
therapy. She advised her parents that she was a trans male, whereupon they sought therapy
for her. Alicia comes from an intact family and is an only child. She has a good relationship
with her mother with whom she shares intimate thoughts and feelings and a positive,
companionate relationship with her father with whom she shares enjoyable activities. Neither
parent is prepared to affirm her, although they have told her that she is loved and wanted.
She has been formally diagnosed on the Autism Spectrum, Level 2. Alicia has experienced
school refusal, suicidal ideation, depression, peer relationship difficulties, and identity
confusion. At the time of writing, Alicia had been in therapy once a week for 18 months.
During this time, she had returned to school, recovered from her depression, ceased her
suicidal ideation, and started to think about her future.

Developmental history

Alicia’s parents had no concerns about her gender development in early childhood. There was
one occasion when Alicia was 7 or 8 when told her mother that she wanted to be a boy. She
had early puberty at age 10 in grade 4 and this was very unsettling for Alicia, who expressed
discomfort with her developing breasts and hips. She wanted to cover up more and changed
her clothing preferences.

Alicia was bullied and excluded from peer groups. She moved in and out of peer groups but
was frozen out by bullies. She befriended different girls but found out that they did not regard
her as a friend – they just allowed her to “hang out” with them. She was “broken hearted”.

Alicia was diagnosed ASD in grade 6. Alicia wanted to get her long hair cut off. She started
wearing boys’ clothes. She was unhappy with her female genitalia. She started questioning
her gender and became hyper focused on the internet – into YouTube, Discord, etc. She told
her mother she didn’t understand why everyone didn’t question their gender. Mother closed
off access to Reddit and Tumblr.




                                                                                    43 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 46 of 70




At the time of referral, Alicia had an online boyfriend (15) who is gay. She has not admitted
to him that she is a girl. She thinks she is in a gay relationship. Mother thinks that she has told
him that she is intersex and has male genitalia and that she is trans. Her mood improved once
this relationship began. They play Minecraft online together, chat about life. Alicia feels guilty
about lying to him about her gender.

In year 7 (the first year of high school) a male student liked her, but she didn’t pick up the
cues. Another boy tried to get someone to have sex with her. He cornered her in the bushes
and invited other boys to “fuck” her. It all got reported to school management, boy was
suspended, but Alicia she was severely traumatised. She became suicidal and could not get
the incident out of her mind, could not go to that space in the school grounds. One day, she
climbed the stairs in a school building with the intention of jumping off, but boy(friend) came
and distracted her to go to the library. The school got someone to accompany her to classes
to keep her safe. She started to school refuse.

Mother said that suicide became Alicia’s “go to” to solve her problems, but she is not unduly
concerned about her safety. Her main concern is the GD. Mother sees her as her daughter,
cannot use the alternative name or pronouns.

Mother thinks her husband is also on the autism spectrum. He loves Alicia but cannot talk
comfortably with her. She rarely goes to him with problems.

First month of therapy

Session 1

        I have spent three years trying to figure out my gender identity and why I have gender
        dysphoria (GD). This year, I have found out and feel comfortable. I have told my
        parents, but they are not taking me seriously. They have barred me from doing stuff
        that might help me – they don’t understand how I feel about my gender. My friends
        use my preferred name and pronouns (he/him), but my parents refuse.

        My relationship with my parents is good except for the gender issues. We are strained
        over that – I feel isolated around them. I feel I can’t go to them. They give me reasons
        as to why I shouldn’t be trans. I am being encouraged not to explore how I feel because




                                                                                       44 | P a g e
Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 47 of 70




    of what my Mum has read. I want to tell them that I feel mistreated by them for not
    respecting my chosen name and pronouns.

    Most of my classmates are not accepting either; they make jokes about trans people,
    so I am hesitant about using my chosen name and pronouns at school.

    I have online friends I feel close to. Two of them know that I am trans and are
    accepting. Others don’t know but I go by my trans name and pronouns online because
    it relieves my distress. They are struggling with stuff as well.

    I started wondering about my gender when I was 10 which is when I started puberty.
    I felt something was “off” about myself. I tried to understand it by experimenting with
    different identities and what felt right for me. I explored them all, but nothing felt
    right, I couldn’t stick to one thing. I was all over the place. I knew about trans people
    while I was trying to figure myself out. At the beginning of 2020, I finally found an
    identity that I was looking for but then had trouble expressing that and finding
    acceptance. At one point, I considered myself non-binary (NB), gender fluid (GF),
    agender. I landed on non-binary because I don’t identify as male or female; GF
    fluctuates between the poles of male and female. But NB didn’t feel right either,
    thinking of myself as other than male or female. GF felt like something that I had to
    actively think about all the time. “What do I feel like right now – male or female?”
    Then I decided that trans felt best for me – it felt like I could recognize who I am – I
    really wasn’t comfortable with being female. Saying that I am trans feels right in the
    sense that I now know who I am.

    As a female, I experienced GD, didn’t like my female pronouns, within my peer group
    at school, I felt very disconnected from girls in my classes, slowly gravitated towards
    having a male peer group, with whom I felt more comfortable. They don’t
    acknowledge my trans status except when they are making jokes about trans people.
    At school, I still go by my birth name and female pronouns. My male peer group see
    me as the only girl in their friend group. One of them reads me as more masculine,
    sometimes uses male pronouns then corrects himself. Secretly, I don’t want him to
    correct himself but none of them know that I am trans.



                                                                                 45 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 48 of 70




       Some students in class make awful jokes about trans people, making fun of NB people.
       In a science class we had to classify salts and gases. Some of them related this to trans
       categories. I had to sit there pretending that I didn’t care about what they were saying.
       I was on the verge of breaking down, so I left to go to the bathroom. I was crying for
       the last ten minutes of period in bathroom. They were jabs at me personally. They
       figured I was part of the LGBTQ community.

Second month of therapy

       The only thing that I want at the moment is to transition socially without going through
       more struggles and to feel more comfortable with myself. I also want to get a binder
       to feel more comfortable. Mum says no - she says she wants me to be comfortable in
       my own skin but I can't without doing anything. I wear sports bras and baggy clothing,
       but sports bras don't help much. My height is a problem because I am short, I am
       insecure with that. I also have bottom dysphoria – I am distressed at not having a
       penis. I have to wear loose pants to stop myself from being more aware of it. Having
       a penis would make me feel more comfortable and more complete.

       I am attracted to guys. I have a boyfriend. He knows that I am trans and he genders
       me correctly. My parents know that I have a boyfriend. He is 15, a year older than me.

       I feel vulnerable and distressed at home and school. I would like my parents to be
       more accepting so that I can come to them with the issues that I am having. I would
       like to socially transition just in the house, I would feel more comfortable, just around
       my parents. There wouldn't be too much change. I have a lot of body hair - Mum says
       that I should shave my legs and armpits, but I prefer not to.

Six months into therapy

       I have had some moments doubting my gender identity, sometimes I feel confused
       that I am faking it and doing it for attention. It comes and goes. It’s quite distressing, I
       want to tell Mum and Dad that I am having doubts and need some comforting words.
       It is hard to let them know that I am not trans anymore because when I am doubting
       it is very hard to stay grounded. It feels like a big swamping feeling that I am
       overwhelmed by, and it is hard to reach out for comfort to them. I am scared that they
       might take my doubting as a good thing. Mum is OK with other stuff but not for my

                                                                                      46 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 49 of 70




       gender dysphoria; we are at opposite ends. We can't see eye to eye. There is a lack of
       understanding about how I am feeling. I talked to her before about my breast
       dysphoria. I said to her, "I don't like my breasts." My mother then said, "Well, I don't
       like having fat legs."

Conversation with mother:
       What is worthy of note is that Alicia started taking her bra off to sleep while we were
       on holidays at the beginning of December, and she has kept doing that. She had
       refused to do that for about a year. Also, she would always hide her breasts with her
       arms when in the bathroom, going to the bathroom without clothes on, or whatever,
       but is no longer doing that since sleeping without the bra. She even unzipped her sun
       shirt while in the pool, which has not happened for a few years. She had swimmers
       underneath, but normally would never expose herself that much. Four or five days
       ago, she was upset, but didn’t tell me until after, but said it was to do with gender
       dysphoria and doubting herself. I didn’t want to push her, but I took that to mean she
       doubted she was trans, and that’s what was upsetting her - the thought of not being
       trans.

12 months into therapy

         My thinking has changed about the gender issues over time - I feel once again that I
         am not sure who I am regarding gender. I want to block out everyone else's opinion
         because it is a life changing issue. Questioning has the potential to be life changing.
         I am at a point where I feel I have to go through it alone, to avoid multiple opinions.
         There is no check list that definitively says what you are. I have to step back from
         everyone and dive deep down into myself to try to know who I am. It is a very tricky
         experience to try to explain. I feel like I know how I stand, how I perceive myself in
         terms of gender but there is no way I can know for sure. I might feel one way now
         and will be treated in a certain way but then I might change my mind.

Alicia’s current summation, 18 months into therapy

         I have decided that I am a nonbinary male, but I am not necessarily male. My gender
         is neutral – overall, I am in the middle of thinking about it on a spectrum. I feel that
         I have now landed on something that feels right; it is the best descriptor for me. I

                                                                                     47 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 50 of 70




         previously considered myself trans FtM but now that doesn't fit. I have made peace
         with it. I have made peace with the fact that I have been born with a female body. I
         might not like it, but it is my body and the best I can do is try to feel at home one way
         or the other in it. When I think about medical transition - I will leave that alone until
         I am 18 and responsible for my own choices. Hopefully, I would have a firm grasp on
         who I am by then. Medical treatment is risky for people who are going through
         puberty, and I am too old now to have puberty blockers, so I have decided to get to
         the end of this, I mean puberty, being a teenager. I don't want to make irresponsible
         decisions when I am not mature enough to do so. I think I will eventually start
         testosterone, but not too rapidly. I want more masculine features/characteristics,
         but I prefer to appear androgynous, more male leaning androgyny. I want to
         minimize my overtly feminine features that get to me. I expect to shave but not have
         a bushy beard, maybe minimal hair on my face. I have never grown any facial hair. I
         don't like having wide hips or a curvy body. I want bulkier arms and bigger hands. My
         body is "petite" - I don't like that. I am short and insecure about my height. I am 157
         cms - that is short compared to my classmates. I am embarrassed that I am so short
         compared with my classmates. I feel inferior having to look up to them. In my friend
         group, I am the oldest but also the shortest. I want more respect.

I asked Alicia whether she will get more respect if she looks more androgynous. She replied:

       It is a grey area for me. In terms of feeling respected, I want to feel like myself, like a
       proper person. Sometimes I am shambling around as some thing and not as any sort
       of defined me. I really don't like the fact that I have a fanny. I am tolerating the breasts
       more than the fanny. Having a fanny doesn't feel right or proper. It feels like empty
       space. It doesn't feel like a part of my body. My ideal body would not include a fanny.
       I would rather have a willy.

I explained how testosterone would and would not change her body. I told her that it would
produce facial hair and a deeper voice but would not increase her height or grow a penis. She
was somewhat shocked to hear about these limits of testosterone. She then said, “In that
case, I will leave the big decisions until I am 18”.




                                                                                      48 | P a g e
     Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 51 of 70




         These statements from this young ASD person highlight how young people’s sense of
         gender changes over time and how dangerous it is for gender clinics to accept their
         first pronouncements of how they perceive themselves. It also brings into sharp focus
         the misunderstandings and confusion that can arise. Without careful discussion in a
         safe space, such misconceptions may never be detected or corrected, and the young
         person may be left with their erroneous beliefs, the basis upon which they make
         irreversible decisions about their bodies. It is also noteworthy that a significant
         proportion (~51%) of young people with ASD express anxiety related to gender while
         not expressing unhappiness with their biological sex (60%) or a desire to change their
         biological sex (70%)30. It is therefore imperative that anxiety about gender not be used
         as the determinant for medical interventions in ASD populations.

Jared31

Below is a two-year history summarizing the gender identity and sexual orientation trajectory
of an adolescent male. Apart from his gender questioning, Jared was an otherwise
psychologically healthy young person from an intact family. He loved BMX and scouts, was
doing well at school, had friends, both male and female, and two older siblings, including a
23-year-old brother who proved a very useful ally and role model in Jared’s treatment.

At the age of 14, Jared came out to his parents as GAY. He soon changed that declaration to
BISEXUAL when he experienced a powerful crush on a female classmate. After she rejected
him, he came out as TRANS and demanded puberty blockade and cross sex hormones.

In therapy, his demands for transition were strident and incessant. He constantly asked me
when I was going to tell his parents that he was competent to give consent and could
therefore proceed with his transition.

He shaved his legs, arms, and body hair, grew his hair long, and started to wear eye makeup
and nail polish. He ordered female clothing from the internet and wore it secretly in his room.
When his parents confiscated these clothing items, his female friends from school lent him


30
   Adesman, A., Brunissen, L., & Kiely, B. (2020). Characterization of Gender-Diverse Expressions and Identities
among Youth with Autism Spectrum Disorders. Pediatrics, 146(1_MeetingAbstract), 302-303.
31
   A very similar case has been posted online https://genderclinicnews.substack.com/p/florida-warns-doctors-
off-gender?r=130uly&s=w&utm_campaign=post&utm_medium=web


                                                                                                   49 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 52 of 70




their clothes to wear until I advised his parents to put a stop to this. Teachers at his school
started calling him by his preferred name and pronouns until I advised his parents not to allow
this.

He became increasingly hostile towards me because I was not advising his parents to allow
him to transition. His parents had told him that they were not prepared to act on his desire
to transition until they were advised by me that this was the medically and psychologically
sound course of action. I told Jared that such decisions required great care and exploration
and that we needed to understand more about his motivation for wanting to transition and
what it meant in his life. I explained that I needed to be sure that he understood all the
ramifications of such treatment and the fact that some aspects were irreversible. He insisted
like so many young transgender declaring adolescents that he didn’t care about having sex or
children so none of that mattered.

Several months after therapy commenced, while still vehemently protesting his trans-female
identity, he wrote a letter to his parents apologising for misleading them. He said he now
realised that he was not a trans-female but a DEMIGIRL (denoting partial non-binary, partial
female gender identity).

He changed this orientation shortly thereafter to DEMIBOY (denoting partial non-binary,
partial male gender identity). He stopped trying to deceive his parents with regards to wearing
makeup and nail polish and secretly stashed his female clothing obtained illicitly through the
internet (with packages delivered to his friends’ houses so that his parents did not suspect)
into the recycle bin.

Three months later, he again wrote to his parents, telling them that he was only joking about
the whole thing and that they were the only people who had taken it seriously.

I advised his parents to eat humble pie to give their son the opportunity to exit the gender
maze without losing face.

The next day, shortly after his 16th birthday, he asked his parents to take him for a haircut and
to take him shopping for new clothes. He directed them to a barber and a male clothing store.
He quietly advised his parents that he now realised that was STRAIGHT.




                                                                                     50 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 53 of 70




SOCIALIZED AND INTERNALIZED HOMOPHOBIA
An adolescent realises that s/he is same sex attracted. Finding this unacceptable, due to
parental and/or internalized homophobia, the adolescent reasons as follows: Being same sex
attracted is bad and shameful. My parents will reject me if I am gay. If I am a boy attracted to
other boys, I must be a girl and therefore need to transition so that my attraction to boys
becomes heterosexual.

Hossein
Sociocultural issues and parental homophobia

Hossein was aged 15 years when his parents contacted me about their many concerns for
their son. He is the elder of two children; he has a nine-year-old sister. The family migrated
to Australia from a Balkan country when Hossein was five. They became panicked when
Hossein declared that he was transgender and wished to transition immediately.

Hossein was difficult to engage except when talking about his gender dysphoria and pressing
his case for transition. He said that his parents were waiting for my assessment before they
agreed to any medical treatment. He asked several times each session when I would finish my
assessment and advise his parents that he could start taking oestrogen. He was otherwise
hard to engage and was sometimes irritated, sleepy, and uncooperative.

Hossein expressed concern about his schoolwork. He had aspirations to study aerospace
engineering but was finding senior school maths and physics difficult. He also reported serious
attentional problems. I advised his parents to obtain psychometric assessments of his ability,
attention, and social skills in order to gain a baseline of his current functioning. Hossein was
found to have average intelligence, which was not concordant with his parents’ view of him,
or his own view, that he was “gifted.” I attempted to do some reality testing regarding
parental expectations for his academic performance.

Hossein also scored in the clinical range for both attention deficit disorder and autism
spectrum disorder. I indicated to his parents that these conditions were priorities for
treatment and that the school needed to be informed about the results of psychometric
testing in order to better support Hossein at school.



                                                                                    51 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 54 of 70




When I explored Hossein’s perception of his sexuality and sexual orientation, Hossein
disclosed the following:

       I see myself as bisexual. I have feelings for guys and girls, more like a pan-thing. I have
       had a boyfriend who identifies as male and pan since last year. We get together just
       the two of us - we visit each other's houses. I guess I would be OK with being gay. For
       me, it fluctuates.

Of his mother, Hossein said:

       Mum knows I have this friend. She doesn’t know that he is my boyfriend. I don't think
       Mum will take it well because she asked me if I still liked girls. She wouldn't take kindly
       to knowing I have a boyfriend.

Of his father, Hossein said:

       Dad is trying to suppress his queer phobia, but he says bad things about LGBTQ. He is
       anti it all; he got angry with me for refuting what he was saying. Dad said gay is about
       anal sex and that is gross. Then Mum told him to shut up and I went to my room and
       cried. Dad is anti queer for sure, he tries to suppress it because he still loves me. I felt
       very disappointed in Dad when he expressed these sentiments. He will be very freaked
       out if he thinks I am queer, gay, or trans.

This is a [….] family who speak [….] at home. [….] culture is homophobic. In a family meeting,
I tentatively prepared his parents for the possibility that Hossein’s sexuality may eventually
resolve as homosexual and that if that were the case, they would need to resolve their own
antipathy to homosexuality in order to support their son.

Declaring oneself transgender in this sociocultural milieu is an attempt to resolve the difficult
dilemma of a […] boy being gay. Sadly, transgender identity is preferred to a homosexual
orientation in certain Balkan countries and the Middle East.

Hossein was insistent at various times that he was transgender and was impatient to
commence his social transition and to obtain prescriptions for cross sex hormones. He was
dismissive of the life changing effects of these drugs on his body, was indifferent to the loss
of sexual function, and declared that he was not interested in preserving his sperm for later
reproduction because he had no intention of having children. Hossein was cognitively rigid

                                                                                      52 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 55 of 70




and evinced concrete thinking when discussing his potential transition. He had researched
the “facts” about MtF transition but could not discuss them in a nuanced way or accept the
possibility that he may be disturbed by side effects or uncertainties about his course of action.
He did not wish to proceed with surgery at this time.

In view of Hossein’s recently diagnosed ADD, ASD, and uncertainty about his gender identity
and sexual orientation, I drew the conclusion that Hossein was not Gillick competent and
should not be supported to transition at this time, either socially (i.e., changing his name and
pronouns) or through cross sex hormones.

The priority for Hossein was to address his ADD and to get support for his ASD. I referred him
to a child and adolescent psychiatrist for a medication review for his ADD and depression. The
psychiatrist prescribed methylphenidate and antidepressants. I ceased therapy with Hossein
as he refused to engage further because I had not supported his transition and had several
further sessions with his parents to assist them to address their homophobia and grief that
their only son was, in all likelihood, gay.

Roisin
Internalised homophobia

Roisin is a 15-year-old adolescent attending an exclusive girls’ school. She came out as trans
to her mother at the age of 14. It seemed like rather a half-hearted coming out. Roisin had
not chosen a new name or pronouns and did not seem particularly interested in exploring her
new identity. The only change was that she asked her mother to buy her the alternative school
uniform, which consisted of trousers and a shirt instead of a pinafore. This did not trouble
mother too much as a significant number of the students had opted for this style of uniform.

Roisin’s presentation was more consistent with body dysmorphia than gender dysphoria.
Roisin complained that her hips were too wide, that her thighs were too big and that her face
was the wrong shape although she could not be specific about what it was about her normal,
symmetrically placed features that were so wrong. Roisin suffered from severe acne for which
she was prescribed medication. When her skin cleared up and she appeared in the full bloom
of good health, she confided to me that she was not that happy that her skin looked so good.
When I inquired why, she replied that now that the focus was taken away from her acne, all


                                                                                     53 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 56 of 70




the other “hideous” features of her countenance were in the full glare of the spotlight, and
she could not tolerate looking at herself in the mirror or having her photo taken.

Roisin is gifted and had been performing well at school, but teachers had commented recently
that she was distracted, disconnected, often “spaced out” and not “with it” in class. She
appeared sleepy and often put her head on the desk. In response to a question about how
she was sleeping, Roisin responded:

       I am having nightmares about events in my life and about what could go wrong. They
       are most often about peer interactions. I worry about potential issues related to my
       peers judging me, exposing me as gay. I wake up in a panic about who is talking about
       me. There are a few girls in my class who won’t shut up about LGBTQ issues. They
       are really obnoxious and loud, and I always feel as if they are referring to me when
       they talk about lesbians in a disparaging way. I have thought about asking them not
       to keep talking about LGBTQ issues all the time, but if I do that, I will be accused of
       being homophobic. I might risk being ostracized by other girls as well.

Soon after she reported her nightmares, Roisin disclosed that she had been self-harming for
about a year.

       Sometimes, I come home from school defeated, nothing in particular has necessarily
       happened, it is just the constant stress of the environment. I tried sitting with the
       feeling, but it didn't pass, so I got the reed on my clarinet and scraped and cut my
       waist and hip. It is still red and angry, it was painful, but it is healing. Other times I use
       scissors and cut the top of my thighs. I only cut where it is not obvious, and no-one
       will see it.

About nine months into therapy, Roisin confided that she had a powerful crush on a girl at
school but would never act on it for fear of rejection by the girl in question, and peer
vilification in general. She was very troubled by the intensity of her feelings and asked me
whether she was gay.

I had a very open and scientifically oriented discussion with Roisin about female sexual
orientation. I explained that sexual orientation in females appears more likely to change over
time. I discussed hypotheses regarding the greater sexual orientation fluidity in females


                                                                                        54 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 57 of 70




compared with males that are underscored by biologically based sex differences in foetal
hormone exposure and socio-political forces that constrain sexual self-concept, expression,
and opportunities differently in women and men. I indicated that while she currently felt
strongly same sex attracted, her feelings may well change over time. I explained that many
adolescents experienced same sex attractions but mostly reached adulthood as heterosexual.
I normalized her feelings and explained that she was not inferior, diseased, or immoral if she
were, in fact, gay. Roisin was greatly relieved by our several discussions on female sexual
orientation and decided that she would like to share this with her mother.

I coached mother about appropriate responding and reinforced what I had already discussed
with Roisin in her sessions. Mother was relieved that Roisin no longer thought of herself as
trans and was not at all troubled that she may be lesbian. She said:

        Being gay is biologically based and does not involve self-mutilation or lifelong
       patienthood at the behest of the medical profession. There are a number of gay
       people in our extended family, and all are accepted without question. We do not have
       a problem with it at all.

The disclosure went well, and Roisin was greatly comforted by her parents’ easy acceptance
of her declaration. However, she is troubled by possible responses from her peer group
should they find out (she has no intention of disclosing to them). She continues to struggle
with other aspects of her mental health, including a treatment resistant clinical depression
for which she has been medicated unsuccessfully.




                                                                                  55 | P a g e
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 58 of 70




Professor Dianna Theadora KENNY                                                 Mob:
                                                                     E:
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__________________________________________________________________________________

                                 ABBREVIATED CURRICULUM VITAE

Current                 2019 -          Principal, DK Consulting (Psychology, psychotherapy, family
                                        dispute resolution, and medico-legal services)
Previous
appointments            2013-2019        Hon Professor of Psychology, The University of Sydney
                        2006-2013        Professor of Psychology, The University of Sydney
                        1988-2006        A/Professor, Senior Lecturer, Lecturer in Psychology, The
                                         University of Sydney
                        1986-1987        Psychologist in private practice
                        1986-1987        Lecturer in School Counselling, School of Counselling and
                                         Disabilities Studies, The University of Western Sydney
                        1983-1985        Regional Specialist Counsellor for Emotionally Disturbed
                                         Children, Liverpool region, Division of Guidance and Special
                                         Education, NSW Department of Education
                        1978-1983        District School Counsellor, NSW Department of Education
                        1976-77          Teacher, Haberfield Demonstration School, Haberfield, NSW

University Qualifications

          1988                   Doctor of Philosophy (PhD) (Developmental and Educational
                                 Psychology), Macquarie University (School of Behavioural Sciences)
          1980                   Master of Arts (School Counselling), [M.A. (Sch. Couns.)], Macquarie
                                 University (School of Behavioural Sciences)
          1974                   Bachelor of Arts (Honours - Psychology) [B.A. (Hons)] The University
                                 of Sydney
Other Qualifications

          2016                   Postgraduate Diploma in Family Dispute Resolution (PG Dip FDR)
                                 (NSW College of Law)
          2015                   Nationally accredited mediation training – Resolution Institute
          1986                   Diploma in Clinical Hypnotherapy (DCH), Australian Society of
                                 Clinical Hypnotherapists


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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 59 of 70



       1982                    Certificate in Marriage and Family Therapy, Marriage Guidance
                               Council, N.S.W. (now Relationships Australia).
       1977                    Associate Diploma in piano, Trinity College of Music, London (ATCL)
       1975                    Diploma in Education, (DipEd) Sydney Teachers' College

Registrations and Accreditations

Psychology Board of Australia (No.0005390)
Australian Health Practitioner Regulation Agency (PSY0001136350)
Approved Medicare provider (No 2876971T)
Nationally accredited Mediator (LEADR, Australian Dispute Centre)
Family Dispute Resolution Practitioner (NSW College of Law)(Registered with Attorney General
Department) (No. R1005291)

Membership of professional societies

Member, Australian Psychological Society: Specialist Accreditations
        Academic Member, College of Developmental and Educational Psychologists
        Fellow, APS College of Counselling Psychologists
Member, American Psychological Society
Member, Society for Psychotherapy Research
Member, International Association of Relational Psychoanalytic Psychotherapy
Elected Member, New York Academy of Sciences
Member, Australian Dispute Resolution Association
International affiliate, American Psychological Association

Consultancies relevant to psychology and the law, transgender issues in children and
adolescents (informed consent, assessment and suitability, family conflict, comorbid conditions),
child sexual abuse, sex offending, and sexual misconduct

           Expert report writer, Human Rights Law Alliance
           Expert report writer, Amicus Briefs for cases occurring in Canada and USA
           Expert reviewer/report writer, Office of the Director of Public Prosecutions, Armidale,
           Gosford, Lismore, Parramatta, Penrith, Sydney, Tamworth, Wollongong
           Expert reviewer /report writer, Crown Solicitors’ Office, Sydney
           Expert reviewer/report writer, Victorian Government Solicitor’s Office (VGSO)
           Expert reviewer/report writer, Joint Investigative Response Team (JIRT), NSW Police –
           Blacktown, Chatswood, Coffs Harbour, Manly, Penrith, Tamworth
           Expert reviewer/report writer, Health Care Complaints Commission (HCCC) – NSW,
           Victoria, and Western Australia
           Expert developmental psychologist, various Barristers chambers
           Assessment psychologist, Aboriginal Legal Service
           Research consultant, NSW Department of Juvenile Justice
           Research consultant, Justice Health NSW
           Research consultant, Youth Justice Coalition (pro bono)
           Research consultant, Public Interest Advocacy Centre (pro bono)

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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 60 of 70



           Consultant investigative psychologist (of alleged child sexual abuse), St Joseph’s College,
           Hunter’s Hill
           Consultant psychologist, Tribunal of the Catholic Church

Expert reviewer for Joint Investigative Response Team, NSW Police

      Provide advice and court reports on cases related to child sexual assault, including reports of
       historical child sexual abuse
      Appraise the quality and plausibility of disclosures made by complainants in cases of current
       and historical sexual abuse
      Provide literature reviews and advice on the status of recovered memories, the reliability of
       childhood memory, and memory processes over time and factors that can alter or affect
       memories
      Provide advice on language development, children’s use of and understanding of sexual
       language
      Provide expert advice on other matters related to criminal offending against children.
      Provide expert advice on the nature of psychopathologies arising from child sexual abuse

Expert developmental psychologist for various Barristers chambers, Crown Solicitor, and Office
of the Director of Public Prosecutions

      Provision of expert reports on matters pertaining to child development
           o   credibility and reliability assessments of disclosures of child sexual abuse
           o   Reasons for delay of disclosures of child sexual abuse
           o   memory and language development as it pertains to child sexual abuse disclosures
           o   evaluation of “recovered memories”
           o   Long term impacts of child sexual abuse
           o   Capacity for consent

Court referred clients

      In cases of parental alienation, assess the quality and veracity of accusations of emotional,
       physical and sexual abuse of children in divorcing couples undergoing family court proceedings
       for custody and access of the children of the marriage, and report these findings to the court.
      Assess parenting capacity in separating and divorcing parents to ascertain child safety and
       capacity of parents to undertake shared parental responsibility.
      Where mandated by the court, provide assessment, counselling and therapy for accused
       fathers and report on the alleged risks to their children while in their care.

Expert reviewer for the Health Care Complaints Commission

      Investigate complaints against psychologists for malpractice and misconduct, including sexual
       misconduct, and other conduct that falls below the standard expected of the profession.

      Undertake review and critical appraisal of treatments offered by psychologists and whether
       those treatments have been collusive, coached, suggestive or in other ways biased with
       respect to issues of child sexual abuse, including historical sexual abuse.

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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 61 of 70




       Evaluate psychologists’ psychological practice, evidence-base for therapeutic interventions,
        and competence in implementing psychological therapies.

       Undertake file review of documents (letters, submissions, complaints, statements, accounts
        of therapy, therapy case notes) from complainants and defendants, report writing,
        participation in conclaves, and court appearances.

Consultant Psychologist to the Tribunal of the Catholic Church

       Assessment of marriages for annulment
       Assessment of claims of sexual abuse within marriage and non-consummation of marriage,
        among other relationship issues.

Research on sexual offending in young sex offenders

       Extensive research undertaken on sexual offending examining life histories and precursors to
        sexual offending, young offenders’ experience of sexual abuse, and other forms of
        maltreatment for the NSW Department of Juvenile Justice.

Ministerial and other Appointments in Psychology and the Law

        2013 Board Member, Daystar Foundation (a foundation for the provision of vocational training
               and employment to ‘at risk’ young people)
        2003-2009 Chair, Ministerial Steering Committee, NSW Department of Juvenile Justice
               Collaborative Research Unit
        2003-2009 Member, Ministerial Steering Committee on Sexual Offending, New South Wales
               Department of Corrective Services
        2002 A/Chair, Ministerial Reference Group on Sexual Offending, New South Wales
              Department of Corrective Services
        2001 Member, Ministerial Reference Group on Sexual Offending, New South Wales
              Department of Corrective Services
        2003 COCQOG (Commonwealth Cost and Quality of Government): External Reviewer of
              Psychological Services and Specialist Programs, NSW Department of Juvenile Justice
        1996-2002 Deputy Chair, Ministerial Steering Committee, NSW Department of Juvenile Justice
               Collaborative Research Unit
        1997-2003 Chair, Research and Ethics Subcommittee, NSW Department of Juvenile Justice
               Collaborative Research Unit
Expertise

I divide my expertise into five key areas –

    (a) Gender dysphoria (GD) in children and adolescents including a clinical practice working with
        young people with GD and their parents/families and schools. I bring my decades of
        experience working with children and families to my practice in working with young people
        with GD (key areas b, c, d, and e are all relevant to my clinical practice in gender dysphoria).



                                                                                                      4
Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 62 of 70



 (b) Child development – including children’s social, emotional and cognitive development,
     assessment of children’s attachment to primary care givers, peer relationships, cognitive
     abilities including intelligence, memory and language; assessment of developmental
     psychopathologies and behavioural disorders and provision of therapy for same.

 (c) Matters pertaining to child sexual abuse, including the disclosure of child sexual abuse, the
     impact of sexual abuse on children, historical child sexual abuse and its reporting, and issues
     of repressed or false memory, grooming by paedophiles, and counter-intuitive behaviour.
 (d) Matters pertaining to school performance and achievement, psychometric assessment of
     intelligence, assessment in literacy and numeracy and specific learning disabilities.
 (e) Family dispute resolution (I am an FDRP registered with the Attorney General’s Department)
     in which role I asses alleged offences of one parent against another and/or their children in
     the context of family court proceedings. I report on issues such as access, parental alienation,
     and child stress in the context of contested divorce and custody disputes.

 (a) Gender dysphoria in children and adolescents

    I have a busy clinical practice specializing in the treatment of gender dysphoric children and
    young people, their parents and families. I have contributed invited submissions to
    government here in Australia and overseas on matters relevant to education policy on
    transgender declaring children and adolescents and acceptable therapies with which to treat
    them. I have published in the area and provided expert reports on disputes regarding
    treatment of gender dysphoric young people whose cases reach the Family Court.

    Key publications (Books, edited books, book chapters, journal articles)

    Kenny, D.T. (2020). Gender dysphoria in children and young people: Collected papers on the
    psychology, sociology and ethics of gender transitioning. Germany: Scholars Press.

    This book critiques gender dysphoria in young people and its current treatments that include
    gender affirmation therapy involving puberty blocking agents, cross sex hormones and sex
    reassignment surgery. I examine the safety of these treatments, evidence of efficacy, capacity
    of children and young people to give consent to life altering treatments, the social impacts of
    transgender individuals, particularly in women’s sport, and the social contagion of gender
    dysphoria.

    D’Angelo, R., Syrulnik, E., Ayad, S., Marchiano, L., Kenny, D. T., & Clarke, P. (2021). One size
    does not fit all: In support of psychotherapy for gender dysphoria. Archives of Sexual
    Behavior, 50(1), 7-16.
    Holloway, G., Kenny, D.T., Deves, K., …Parkinson, P., Morris, P., & Halasz, G. (2021). Australian
    perspectives on transgendering children and adolescents: Implications for policy and practice.
    Hobart: Author.

    Kenny, D.T. (2021). Opposing the teaching of gender fluidity ideology: The Education
    Legislation Amendment (Parental Rights) Bill 2020 (pp. 13-22). In Holloway, G., Kenny, D.T.,
    Deves, K., …Parkinson, P., Morris, P., & Halasz, G. (2021). Australian perspectives on
    transgendering children and adolescents: Implications for policy and practice. Hobart: Author.



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Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 63 of 70



    Kenny, D.T. (2021). The social contagion of gender dysphoria: a theoretical and empirical
    proposition (pp. 56-70). In Holloway, G., Kenny, D.T., Deves, K., …Parkinson, P., Morris, P., &
    Halasz, G. (2021). Australian perspectives on transgendering children and adolescents:
    Implications for policy and practice. Hobart: Author.

    Submissions to government inquiries

    Kenny, D.T. (2021). Submission to the NSW Parliamentary Inquiry: Education Legislation
    Amendment (Parental Rights) Bill 2020.

    https://www.parliament.nsw.gov.au/lcdocs/submissions/70648/0005%20Professor%20Dian
    na%20Kenny.pdf and

   https://www.parliament.nsw.gov.au/lcdocs/inquiries/2610/Report%20No%2044%20-
   %20PC%203%20-
   %20Education%20Legislation%20Amendment%20(Parental%20Rights)%20Bill%202020.pdf

   Kenny, D.T. (2020). Gender development and the transgendering of children. In H. Brunskell-
   Evans and M. Moore. The fabrication of the transgender child. Cambridge: Cambridge Scholars
   Press.

    Kenny, D.T. (2020). Submission and invited presentation to the Queensland government
    Inquiry into the proposed Health Legislation Amendment Bill 2019 to outlaw conversion
    therapy.
    https://diannakenny.com.au/images/pdfs/Submission_to_the_Queensland_Inquiry_into_Ou
    tlawing_Conversion_Therapy.pdf                                                     and
    https://documents.parliament.qld.gov.au/tableOffice/TabledPapers/2020/5620T328.pdf
   Kenny, D.T. (July 2020). Submission to the ACT government into proposed amendments to
   outlaw conversion therapy.

   Clinical guidelines
   Morris, P. …. Kenny, D.T….. (May, 2021). Managing Gender Dysphoria/Incongruence in Young
   People: A Guide for Health Practitioners. National Association of Practising Psychiatrists.
   https://napp.org.au/2021/05/managing-gender-dysphoria-incongruence-in-young-people-a-
   guide-for-health-practitioners/

   Presentations

   Kenny, D.T. (2021). Transgendering our young people: Faulty science, psychic epidemic. Invited
   lecture to the Faculty of Medicine, Notre Dame University, Sydney, Australia.

   Kenny, D.T. (2020). Affirmation only: Where’s the evidence. Invited presentation to the
   Catholic Medical and Bioethical Conference, 30 May.

   Kenny, D.T. (2020). Is gender dysphoria socially contagious? Invited presentation to the NSW
   Parliament Forum on gender dysphoria in our young people, 18 February.




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Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 64 of 70



     Kenny, D.T. (2020). Transgender “ideology” and the “trans-gendering” of young people.
     Invited presentation to the Northern Area Mental Health Network, NSW Department of
     Health, 12 February.

     Kenny, D.T. (2019). Children and young people seeking and obtaining treatment for gender
     dysphoria in Australia: Trends by state over time (2014-2018). Paper presented at the Forum
     on transgender children and adolescents at the Parliament of NSW, 2 July, 2019.

     Children and young people seeking and obtaining treatment for gender dysphoria in Australia:
     Trends by state over time (2014-2018) - Professor Dianna Kenny

     Kenny, D.T. (2019). Female sport participation and gender affirmation: A collision course for
     medical ethics. Invited presentation Melbourne consortium of parents of transgender
     declaring children. 12-13 October.

     Female sport participation and gender affirmation: A collision course for medical ethics -
     Professor Dianna Kenny

     For other significant contributions          to   the   gender      dysphoria   debate,   go   to
     https://www.diannakenny.com.au/


 (b) Child and adolescent development

   (i)     I commenced my professional life as a primary school teacher, then became a school
           counsellor, and specialist counsellor for emotionally disturbed children with the NSW
           Department of Education. I held these positions for 10 years before joining The University
           of Sydney, where I rose to the rank of Professor of Psychology in 2006.
   (ii)    I hold a PhD in developmental and educational psychology, a master’s degree in School
           Counselling, an honours degree in psychology and postgraduate diplomas in education
           and family dispute resolution.
   (iii)   I am a recognised expert in child development. I have designed and lectured in a range of
           courses at undergraduate and postgraduate levels pertaining to child development
           including: Developmental psychology; developmental psychopathology; infant and child
           study (with a focus on language and cognitive development); attachment theory; the
           psychological and cognitive assessment of children; and the developmental foundations
           of stress and coping.
   (iv)    I have major publications in the area of child development.
   (v)     I have provided reports on children to the courts and police, including on issues in child
           development such as language and cognitive development, childhood memory and its
           reliability, and adverse experiences that impair normal development such as attachment
           trauma and environmental risks to safety and security.
   (vi)    I am able to provide comprehensive literature reviews on most subjects related to child
           development.




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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 65 of 70




Key publications:
Kenny, D.T. (2013). Bringing up baby: The psychoanalytic infant comes of age. London: Karnac.

This book examines the development of children, from birth to adolescence. It provides a detailed
analysis of all modes of development including cognitive and social development, language
development, the development of memory, the role of secure attachments in emotional development
and the contribution of developmental neuroscience to our understanding of infant and child
development.
Kenny, D.T. (2007). Lifespan development: Theories and research. The University of Sydney: Author.
This comprehensive manual describes how people develop and change throughout the lifespan,
critically evaluates how cultural, historical, and economic factors influence development, presents the
major psychosocial, emotional, and cognitive developmental theories, discusses the major
controversies in developmental psychology, integrates different theoretical perspectives on
development, and applies developmental theory to healthcare practice. It includes a critical review of
the methods and research approaches (including genetic, comparative, cross cultural, ethological, and
ecological) in developmental psychology and research designs (including cross-sectional, cohort and
longitudinal, time lag and sequential).
Schofield, P., Mason, R., Nelson, P.K., Kenny, D. T., & Butler, T. (2018). Traumatic brain injury is highly
associated with self-reported childhood trauma within a juvenile offender cohort. Brain Injury, DOI:
10.1080/02699052.2018.1552020.
Kenny, D.T. (2016). The adolescent brain: Implications for assessing young offenders’ legal
competence. Judicial Officers’ Bulletin (Judicial Commission of NSW), April, 28, 3, 23-27.
Kenny, D.T., Blacker, S. & Allerton, M. (2014). Reculer pour mieux sauter: A review of attachment and
other developmental processes inherent in identified risk factors for juvenile delinquency and juvenile
offending. LAWS, 3, 439–468; doi:10.3390/laws3030439.
Kenny, D.T., & Nelson, P.K. (2008). Young offenders on community orders: Health, welfare, and
criminogenic needs. Sydney, Australia: Sydney University Press. ISBN 978-0-9804117-0-6.
Kenny, D.T. (2001). Cognitive-developmental theory. In Carol Jones (Ed). Readers’ Guide to the Social
Sciences Volume 1, pp. 230-231. London, United Kingdom: Fitzroy Dearborn Publishers.
Kenny, D.T. (2001). Nature and nurture. In Carol Jones (Ed). Readers’ Guide to the Social Sciences
Volume 1, pp 1105-1106. London, United Kingdom: Fitzroy Dearborn Publishers.
Kenny, D.T. (2000). Psychological foundations of stress and coping: A developmental perspective. In
Kenny, D.T., Carlson, J. G. McGuigan, F. J. & Sheppard J. L. (Eds.). Stress and health: Research and
clinical applications. Ryde, NSW: Gordon Breach Science/Harwood Academic Publishers (pp. 73-104).
Kenny, D.T. & Waters, B. (1995). Current issues in adolescent mental health. In D.T. Kenny and R.F.S.
Job (Eds). Australia's Adolescents: A Health Psychology Perspective. Armidale: University of New
England Press (pp 68-88).
Kenny, D.T. & Job, R.F.S. (Eds.) (1995). Australia's adolescents: A health psychology perspective (272
pages). Armidale: University of New England Press ISBN 1 875821 24 4.




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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 66 of 70



    (c) Child sexual abuse (CSA)
I provide expert reports on child complainants and alleged adult sex offenders to Joint Investigative
Response Teams and Child Abuse Teams within the NSW Police. I have current experience:

    (i)      in counselling CSA victims.
    (ii)     providing structural and psychological analysis of CSA victim statements. I have developed
             specific expertise in the assessment of child testimony in sexual abuse cases.
    (iii)    reviewing video recordings of police interviews with alleged victims of CSA and providing
             commentary on the pertinent psychological issues.
    (iv)     providing expert statements and reviews of literature on matters pertaining to child
             development in general and CSA in particular, for the ODPP, Police, JIRT, barristers, and
             court.
    (v)      acting as an expert witness in cases of child sexual abuse, historical child sexual abuse,
             and paedophilia.
    (vi)     I have given evidence in court and have been cross-examined.
    (vii)    I have extensive knowledge of the child abuse literature and have written a book on the
             subject (see below).
    (viii)   I am able to provide comprehensive literature reviews on most subjects related to child
             sexual abuse.
    (ix)     I have publications – book, journal articles, monographs – on sex offending and have
             served on ministerial committees within the NSW Department of Juvenile Justice and the
             NSW Department of Corrective Services.

Key publications:

Kenny, D.T. (2018). Children, sexuality, and child sexual abuse. East Sussex, UK: Routledge.

This book has become a seminal text in the field because of its wide-ranging coverage and attention
to all the recent research in the field, including the Royal Commission into Institutional Responses to
Child Sexual Abuse. It covers all the key topics in child sexual abuse, including the nature of disclosures,
both immediate and delayed, and their reliability; normal memory development and distortions of
memory that can occur from a range of environmental influences including leading and suggestive
interviewing; impacts of child sexual abuse, including short- and long-term consequences; assessment
and forensic analysis of witness statements, and psychological analysis of CSA victim statements.

Kenny, D.T. (1997). Opinion, policy and practice in child sexual abuse: Implications for detection and
reporting. In M. James (Ed.). Paedophilia: Policy and prevention. Research and Public Policy Series No
12: Australian Institute of Criminology, Sydney, Australia. ISSN 1326-6004. (pp 14-31).
In addition, last year I wrote a major report on paedophilia for the Child Abuse Squad, Ballina,
addressing the question as to whether an individual in possession of child abuse material is a
paedophile. This question had not been explicitly dealt with in the literature. Accordingly, I undertook
major research on the subject and produced a report that the presiding judge allowed to be admitted
into evidence to demonstrate tendency. The solicitor for the ODPP advised me that my report “may
create a precedent for use in future similar matters.”

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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 67 of 70



    (d) Juvenile offending and juvenile sex offending
For a number of years, I chaired or was a member of several committees within the NSW Department
of Juvenile Justice and the New South Wales Department of Corrective Services, including Chair,
Ministerial Steering Committee, NSW Department of Juvenile Justice Collaborative Research Unit,
Chair, Research and Ethics Subcommittee, NSW Department of Juvenile Justice Collaborative Research
Unit, Chair, Ministerial Steering Committee on Sexual Offending, New South Wales Department of
Corrective Services, A/Chair and Member, Ministerial Reference Group on Sexual Offending, New
South Wales Department of Corrective Services.

Kenny, D.T., Seidler, K., Keogh, T., & Blasczynski, A., (2000). Offence and clinical characteristics of
Australian juvenile sex offenders. Psychiatry, Psychology, and the Law, 7, 2, 212-227.
Kenny, D.T., Keogh, T., & Seidler, K. (2001). Predictors of recidivism in Australian juvenile sex
offenders. Sexual Abuse: A Journal of Research and Treatment, 13, 2, 131-148.
Kenny, D.T., & Nelson, P.K. (2008). Young offenders on community orders: Health, welfare and
criminogenic needs. Sydney, Australia: Sydney University Press. ISBN 978-0-9804117-0-6.
Kenny, D.T. & Lennings, C. J. & Nelson, P. (2008). Mental health of young offenders serving orders in
the community: Implications for rehabilitation. In Daniel W. Phillips III (Edited). Mental Health Issues
in the Criminal Justice System. New York: Haworth Press.
Kenny, D.T. (2014). Mental health concerns and behavioural problems in young offenders in the
criminal justice system. Judicial Officers’ Bulletin (Judicial Commission of NSW), 26 (4), 29-33.
Kenny, D.T. (2013). Violent young offenders in the criminal justice system. Judicial Officers’ Bulletin
(Judicial Commission of NSW), 25 (3), 19-24.
Kenny, D.T. (2015). Juvenile sex offenders in the criminal justice system. Judicial Officers’ Bulletin,
(Judicial Commission of NSW), 27 (4), 31-34.

    (e) Educational psychology

During my earlier professional life, I worked as a school counsellor and specialist counsellor for
emotionally disturbed children within the Division of Guidance and Special Education, NSW
Department of Education. I was responsible for assessing children whose psychological difficulties
were such that they could not be managed within the mainstream classroom. I undertook detailed
assessments of their educational, social, and cognitive development in order to provide appropriate
school placements for children who had significant trauma histories and intellectual disabilities.

Key publications:

Kenny, D.T. (2016). The adolescent brain: Implications for assessing young offenders’ legal
competence. Judicial Officers’ Bulletin (Judicial Commission of NSW), 28 (3), 23-27.
Kenny, D.T. (2012). Young offenders with an intellectual disability in the criminal justice system:
Prevalence, profile, policy, planning and programming. Judicial Officers’ Bulletin (Judicial Commission
of NSW), 24, 5, 35-42.
Jensen, P. Stevens, S., & Kenny, D.T. (2012). Effects of yoga breathing on the behaviour and attention
of boys with ADHD. Journal of Child and Family Studies, 2, 4, 667-681. DOI 10.1007/s10826-011-9519-
3.
Kenny, D.T. & Frize, M. (2010). Intellectual disability, Aboriginal status and risk of re-offending in


                                                                                                     10
  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 68 of 70



young offenders on community orders. Special Edition, Indigenous Law Bulletin, 7, 18, 14-19
Kenny, D.T., & Faunce, G. (2004). Effects of academic coaching on elementary and secondary school
students. Journal of Educational Research, 98, 2, 115-126.
Kenny, D.T. (1992). Can teachers be tests? A comparison of teacher ratings and test assessments of
early reading performance. In H. Motoaki, J. Misumi, J. B. Wilport (Eds). Social, Educational and Clinical
Psychology, Vol 3, pp 177-178. London: Lawrence Erlbaum Associates.
Kenny, D.T. (1989). The effect of grade repetition on the academic performance and social/emotional
adjustment of infant and primary students. In Luszcz M. and Nettlebeck T. (Eds). Psychological
development: Perspectives across the lifespan, pp 261-271. North Holland: Elsevier Science Publisher
B.V.

    (f) Family Therapy and Family Dispute Resolution

I assist parents to reach parenting agreements with respect to shared parental responsibility of their
children following separation and divorce. I also undertake mediation with respect to property
settlements. I undertook an 18-month training program with Relationships Australia in marriage and
family therapy, in which capacity I work with families to resolve conflict, attachment ruptures,
relationship stresses, and behavioural difficulties.

Having dual qualifications in both family therapy and family dispute resolution places me in an ideal
position to assess families in custody disputes in relation to parenting capacity, shared parental
responsibility and allegations of emotional, physical and sexual abuse. In these capacities I have
provided parenting capacity reports to both family law solicitors and barristers, the Family Court and
the Children’s Court.

Key publication:

Kwok, E. & Kenny, D.T. (2015). The application of collaborative practice to misattributed paternity
disputes. Australasian Dispute Resolution Journal, 26, 127- 136.

Other Major Consultancies, Invited Commissioned Reports and Invited Submissions to Government
Inquiries
Kenny, D.T. (April, 2011). The NSW Law Reform Commission (NSW LRC). Consultation Paper 11. Young
       people with cognitive and mental health impairments in the criminal justice system,
       Roundtable.
Kenny, D.T. (2009). Submission on bullying to the NSW Legislative Council General Purpose Standing
       Committee No 2.
Kenny, D.T. & Lennings, C. (2007). Provisional sentencing of serious young offenders. NSW Sentencing
       Council. Department of the Attorney General.
Kenny, D.T., Nelson, P., Butler, T., Lennings, C., Allerton, M., & Champion, U. (2006). Young people on
       community orders health survey: Key findings report. Sydney, Australia: University of Sydney
       ISBN: 1 86487 845 2
Allerton, M., Champion, U., Kenny, D.T., Butler, T. et al (2003). 2003 Young people in custody health
        survey. NSW Department of Juvenile Justice ISBN 0 7347 6518 5
Kenny, D.T. & Hunter, J. (2003). Review of psychological services and specialist programs in the NSW


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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 69 of 70



        Department of Juvenile Justice. Commonwealth Cost and Quality of Government (Internal
        Audit Bureau). (170 pages).
Kenny, D.T. (1996). The effects of television/movie/video violence on the behaviour of children and
       adolescents. Invited submission from the Australian Family Association (NSW Branch) to the
       Federal Government’s Committee of Ministers on the ‘Portrayal of Violence.’
Professional contributions in Psychology and the Law
Journal Reviewer
        1.    Frontiers in Psychology
        2.    Journal of Child Sexual Abuse
        3.    Sexual Abuse: A Journal of Research and Treatment
        4.    Psychology and the Law
        5.    International Journal of Offender Therapy and Comparative Criminology
        6.    Clinical Psychology Review
        7.    Journal of Sexual Abuse and Treatment
        8.    Behavioral and Brain Functions
        9.    Archives of Clinical Psychiatry
        10.   Australian Psychologist

Other invited presentations (selected)

Kenny, D.T. (2017). Institutional Child Sexual Abuse. Invited paper to the Local Court of NSW Annual
       Conference (2-7 August), Sydney, Australia.

Kenny, D.T. (2013). Young offenders in the juvenile justice system: A story of violence, intellectual
       disability, substance abuse, alienation and social disadvantage. Invited paper to The Children’s
       Court Magistrates’ Section 16 meeting (2 November). Sydney, Australia.

Kenny, D.T. (2011). Risks and needs of indigenous offenders: physical and mental health. Invited paper
       to A weekend conference for judicial officers and Aboriginal community members, Judicial
       Commission of NSW (10-11 September). Sydney, Australia.

Kenny, D.T. (2009). Intellectual disability and Indigenous status are predictors of recidivism in young
       offenders. Invited paper to the Australian Institute of Criminology Conference (1 September),
       Parramatta, Australia.

Kenny, D.T. (2009). Young offenders: the importance of compensatory attachments and the role of
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  Case 2:22-cv-00184-LCB-CWB Document 69-7 Filed 05/02/22 Page 70 of 70



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